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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON


    UNITED STATES OF AMERICA,
                                                     Case No. 3:12-cv-02265-SI
                             Plaintiff,

             v.                                      AMENDED SETTLEMENT AGREEMENT
                                                     PURSUANT TO FED. R. CIV. P. 41(a)(2)
    CITY OF PORTLAND,

                             Defendant.


                                            INTRODUCTION

         The United States and the City of Portland (“City”) (collectively “the Parties”) recognize that

the vast majority of the City’s police officers are honorable law enforcement professionals who risk

their physical safety and well-being for the public good. The Parties enter into this Agreement with

the goal of ensuring that the Portland Police Bureau (“PPB”) delivers police services to the people

of Portland in a manner that effectively supports officer and public safety, and complies with the

Constitution and laws of the United States. Specifically, this Agreement is targeted to strengthen

initiatives already begun by PPB to ensure that encounters between police and persons with

perceived or actual mental illness, or experiencing a mental health crisis, do not result in unnecessary

or excessive force.

         The Parties recognize there has been an accelerating movement toward a model of police

management that relies on both existing and still-developing management and monitoring tools and

systems. This model requires both vision and fiscal commitment, and is necessary to legitimate

policing. The United States recognizes that PPB has endeavored to adopt components of modern

management despite being a lean organization, and greatly appreciates the City’s commitment, in

this agreement, to provide PPB the fiscal support necessary to rapidly and fully implement a

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complete state- of-the-art management and accountability system. The Parties further recognize that

the ability of police officers to protect themselves and the community they serve is largely dependent

on the quality of the relationship they have with that community.

         Public and officer safety, constitutional policing, and the community’s trust in its police

force are, thus, interdependent. The full and sustained implementation of this Agreement is intended

to protect the constitutional rights of all members of the community, continuously improve the

safety and security of the people of Portland, keep PPB employees safe, and increase public

confidence in PPB, all in a cost- effective, timely, and collaborative manner. The United States

commends the City for the steps it already has taken to implement measures to effectuate these

goals.

         To fully achieve these goals, this Agreement requires the City and PPB to further revise or,

where needed, adopt new policies, training, supervision, and practices in the following areas: the use

of force, training, community-based mental health services, crisis intervention, employee

information system, officer accountability, and community engagement.

         This Agreement further requires that the City and PPB put in place more effective systems

of oversight and self-correction that will identify and correct problems before they develop into

patterns or practices of unconstitutional conduct and/or erode community trust.

         This Agreement further identifies measures, to be met within fixed periods of time, that will

assist the Parties and the community in determining whether: (1) the City has changed its procedures

and taken the actions listed in this agreement; (2) community trust in PPB has increased; and (3) the

improvements will be sustainable.

         For these reasons, and noting the general principle that settlements are to be encouraged,

particularly settlements between government entities, the Parties agree to implement this Agreement

under the following terms and conditions.


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                                   I. GENERAL PROVISIONS

         1.     The United States has filed a complaint in the Federal District Court for the District

of Oregon in Portland, Oregon asserting that the City has engaged in a pattern and practice of

constitutional violations pursuant to the authority granted to United States Department of Justice

(“DOJ”) under 42 U.S.C. § 14141 to seek declaratory or equitable relief to remedy a pattern or

practice of conduct by law enforcement officers that deprives individuals of rights, privileges, or

immunities secured by the Constitution or federal law. The City expressly denies that the allegations

of the complaint are true.

         2.     The Parties agree that nothing in this Agreement shall be construed as an admission

of wrongdoing by the City or evidence of liability under any federal, state, or municipal law. Upon

execution of this Agreement by both Parties, the United States agrees to conditionally dismiss the

complaint it filed with prejudice, subject to the Court retaining jurisdiction to enforce the

Agreement, followed by final dismissal with prejudice upon performance of this Agreement.

         3.     This Agreement shall constitute the entire integrated agreement of the Parties. No

prior drafts or prior or contemporaneous communications, oral or written, shall be relevant or

admissible for purposes of determining the meaning of any provisions herein in any litigation or any

other proceeding. If, in the course of interpreting this Agreement, there is an ambiguity that cannot

be resolved by the Parties or in mediation, evidence including the Parties’ course of dealing and parol

evidence may be used.

         4.     This Agreement is binding upon all Parties hereto, by and through their officials,

agents, employees, and successors. If the City establishes or reorganizes a government agency or

entity whose function includes overseeing, regulating, accrediting, investigating, or otherwise

reviewing the operations of PPB or any aspect thereof, the City agrees to ensure these functions and

entities are consistent with the terms of this Agreement and shall incorporate the terms of this


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Agreement into the oversight, regulatory, accreditation, investigation, or review functions of the

government agency or entity as necessary to ensure consistency.

         5.     This Agreement is enforceable only by the Parties. No person or entity is, or is

intended to be, a third-party beneficiary of the provisions of this Agreement for purposes of any

civil, criminal, or administrative action, and accordingly, no person or entity may assert any claim or

right as a beneficiary or protected class under this Agreement. The Parties agree to defend the terms

of this Agreement should they be challenged in this or any other forum.

         6.     This Agreement is not intended to impair or expand the right of any person or

organization seeking relief against the City, PPB, or any officer or employee thereof, for their

conduct or the conduct of PPB officers; accordingly, it does not alter legal standards governing any

such claims by third parties, including those arising from city, state, or federal law. This Agreement

does not expand, nor will it be construed to expand access to any City, PPB, or DOJ document,

except as expressly provided by this Agreement, by persons or entities other than DOJ, the City, and

PPB. All federal and state laws governing the confidentiality or public access to such documents are

unaffected by the terms of this Agreement.

         7.     The City shall be responsible for providing necessary support and resources to

enable PPB to fulfill its obligations under this Agreement. The improvements outlined in this

Agreement will require the dedication of additional funds and personnel.

         8.     The purpose of this Agreement is to ensure that the City and PPB, by and through

their officials, agents, employees, and successors, undertake the actions required by the Agreement,

which in turn will resolve the concerns expressed by the United States in its complaint. The United

States greatly appreciates the effort and expertise the current PPB leadership team has contributed to

the investigation, agreement, and ongoing reform processes. The United States feels that continuity

of management and effort is essential for timely compliance with the terms of this Agreement.


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                                          II. DEFINITIONS

         Unless otherwise noted, the following terms and definitions shall apply to this Agreement:

         9.      “Chief” means the Chief of Police of the Portland Police Bureau or his or her

authorized designee.

         10.     “City” means the City of Portland, including its agents, officers, and employees in

their official capacity.

         11.     “C-I-Team” stands for Crisis Intervention Team.

         12.     “C-I-Training” stands for Crisis Intervention Training, which is training on how to

respond to persons in behavioral or mental health crisis, including persons under the influence of

drugs or alcohol. Officers who receive such training are “C-I- Trained.”

         13.     “City Auditor” is the City Auditor, whose duties regarding independent police

oversight are governed by Portland City Code Chapter 3.21.

         14.     “COCL” refers to the Compliance Officer Community Liaison, discussed in detail in

Section X.

         15.     “Complainant” means any person, including a PPB officer or employee, who makes a

complaint against PPB or a sworn officer.

         16.     “Complaint” means any complaint made to the City by a member of the public, a

PPB officer, or a civilian PPB employee of alleged misconduct by a sworn PPB employee.

         17.     Computer-Assisted Dispatch (“CAD”) is a computerized method of dispatching

police officers on a service call. It can also be used to send messages to the dispatcher and store and

retrieve data (i.e., radio logs, field interviews, schedules, etc.). PPB Manual 612.00.

         18.     “CRC” is the Citizen Review Committee, whose duties are governed by Portland

City Code Section 3.21.080.




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         19.    “Critical firearm discharge” means each discharge of a firearm by a PPB officer. This

term includes discharges at persons where no one is struck. This term is not intended to include

discharges at the range or in training or negligent discharges not intended as an application of force,

which are still subject to administrative investigation.

         20.    “Day” means a calendar day.

         21.    “Demographic category” means to the extent such information is currently collected

by PPB, age, race, color, ethnicity, national origin, religion, gender, disability, sexual orientation,

source of income, or gender identity.

         22.    “Discipline” means a personnel action for violation of an established law, regulation,

rule, or PPB policy, including written reprimand, suspension, demotion, or dismissal.

         23.    “DOJ” refers jointly to the Civil Rights Division of the United States Department of

Justice and the United States Attorney’s Office for the District of Oregon.

         24.    “ECW” means Electronic Control Weapon, a weapon, including Tasers, designed

primarily to discharge electrical charges into a subject that will cause involuntary muscle contractions

and overrides the subject’s voluntary motor responses.

         25.    “ECW application” means the contact and delivery of electrical impulse to a subject

with an ECW.

         26.    “Effective Date” means the date this Agreement is entered by the Court.

         27.    “EIS” means the Employee Information System as provided in PPB Manual 345.00.

         28.    “Ensure” means that the City and PPB are using objectively good faith efforts to

achieve the outcome desired.

         29.    “Exigent circumstances” means circumstances in which a reasonable person would

believe that imminent and serious bodily harm to a person or persons is about to occur.




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         30.   “Firearm” is any instrument capable of discharging ammunition as defined in PPB

Manual 1020.00.

         31.   “Force” means any physical coercion used to effect, influence or persuade an

individual to comply with an order from an officer. The term shall not include the ordinary

handcuffing of an individual who does not resist.

         32.   “IA” means the Internal Affairs unit of PPB’s Professional Standards Division

(“PSD”).

         33.   “Implement” or “implementation” means the development or putting into place of a

policy or procedure, including the appropriate training of all relevant personnel, and the consistent

and verified performance of that policy or procedure in actual practice through the regular use of

audit tools.

         34.   “Including” means “including, but not limited to.”

         35.   “Inspector” is a command position in the PSD responsible for reviewing all uses of

force and making recommendations regarding improvements to systems of accountability in relation

to force management.

         36.   “IPR” means the Independent Police Review Division, an independent, impartial

office, readily available to the public, responsible to the City Auditor, empowered to act on

complaints against sworn PPB members for alleged misconduct, and recommend appropriate

changes of PPB policies and procedures toward the goals of safeguarding the rights of persons and

of promoting higher standards of competency, efficiency, and justice in the provision of community

policing services, governed by Portland City Code Chapter 3.21.

         37.   “Less-lethal” force means a force application that is not intended or expected to

cause death or serious injury and that is commonly understood to have less potential for causing




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death or serious injury than conventional, more lethal police tactics. Nonetheless, use of less-lethal

force can result in death or serious injury.

          38.   “Lethal force” means any use of force likely to cause death or serious physical injury,

including the use of a firearm, carotid neck hold, or strike to the head, neck, or throat with a hard

object.

          39.   “Line Investigation” or “Directive 940.00 Investigation” means the use of force

investigation conducted pursuant to PPB Directive 940.00.

          40.   “Mental Health Crisis” means an incident in which someone with an actual or

perceived mental illness is experiencing intense feelings of personal distress (e.g., anxiety, depression,

anger, fear, panic, hopelessness), obvious changes in functioning (e.g., neglect of personal hygiene,

unusual behavior) and/or catastrophic life events (e.g., disruptions in personal relationships, support

systems or living arrangements; loss of autonomy or parental rights; victimization or natural

disasters), which may, but not necessarily, result in an upward trajectory of intensity culminating in

thoughts or acts that are dangerous to self and/or others.

          41.   “Mental Illness” is a medical condition that disrupts an individual’s thinking,

perception, mood, and/or ability to relate to others such that daily functioning and coping with the

ordinary demands of life are diminished. Mental illness includes, but is not limited to, serious mental

illnesses such as major depression, schizophrenia, bipolar disorder, obsessive compulsive disorder

(“OCD”), panic disorder, posttraumatic stress disorder (“PTSD”), and borderline personality

disorder. Mental illness includes individuals with dual diagnosis of mental illness and another

condition, such as drug and/or alcohol addiction.

          42.   “Misconduct” means conduct by a sworn officer that violates PPB regulations or

orders, or other standards of conduct required of City employees.




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         43.    “Misconduct complaint” means any allegation of improper conduct by a sworn

officer, whether the complaint alleges corruption or other criminal misconduct; a violation of law; or

a violation of PPB policy, procedure, regulations, orders, or other standards of conduct required of

City employees including, but not limited to, the improper use of force. This definition is not

intended to create a right of appeal to the CRC for lethal force or in-custody death cases.

         44.    “Mobile Crisis Prevention Team” (formerly Mobile Crisis Unit) means the team of a

PPB patrol officer and mental health case worker who are specifically detailed to conduct outreach

and response to persons with known mental illness or experiencing an actual or perceived mental

health crisis, with the goal of intervening with individuals before a crisis exists and to link the

individual with community mental health services.

         45.    “Non-disciplinary corrective action” refers to action other than discipline taken by a

PPB supervisor to enable or encourage an officer to improve his or her performance.

         46.    “Passive resistance” means non-compliance with officer commands that is non-

violent and does not pose an immediate threat to the officer or the public.

         47.    “Personnel” means PPB officers and employees.

         48.    “Police officer” or “officer” means any law enforcement agent employed by or

volunteering for PPB, including supervisors, reserve officers, and cadets.

         49.    Police Review Board (“PRB”) is an advisory body to the Chief governed by Portland

City Code § 3.20.140. The PRB makes recommendations as to findings and proposed officer

discipline to the Chief.

         50.    “Policies and procedures” means regulations or directives, regardless of the name,

describing the duties, functions, and obligations of PPB officers and/or employees, and providing

specific direction in how to fulfill those duties, functions, or obligations.




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        51.      “PPB Manual” refers to PPB’s Policy and Procedure Manual, revised January 2009,

and includes the most current edition and supplements thereto.

        52.      “PPB unit” or “unit” means any designated organization of officers within PPB,

including precincts and specialized units.

        53.      Portland Police Data System (“PPDS”) is PPB’s records management system that

integrates officers’ access to other agency systems such as LEDS, NCIC/III, DMV, DA-Crimes,

ESWIS and OJIN. See, e.g., PPB Manual 1226.00.

        54.      “Precinct” refers to one of the service areas of PPB, which together cover the entire

geographic area of the City of Portland. Each precinct is led by a precinct commander.

        55.      “Probable cause” means that there is a substantial objective basis for believing that,

more likely than not, an offense has been committed and a person to be arrested has committed it.

        56.      “PSD” means the Professional Standards Division, the PPB unit charged with,

among other tasks, conducting or overseeing all internal and administrative investigations of PPB

officers, agents, and employees arising from complaints, whose current duties are governed by PPB

Manual 330.00.

        57.      “Qualified Mental Health Professional” means an individual who has, at a minimum,

a masters-level education and training in psychiatry, psychology, counseling, social work, or

psychiatric nursing, and is currently licensed by the State of Oregon to deliver those mental health

services he or she has undertaken to provide.

        58.      “Serious Use of Force” means: (1) all uses of force by a PPB officer that reasonably

appear to create or do create a substantial risk of death, serious disfigurement, disability, or

impairment of the functioning of any body part or organ; (2) all critical firearm discharges by a PPB

officer; (3) all uses of force by a PPB officer resulting in a significant injury, including a broken

bone, an injury requiring hospitalization, or an injury deemed to be serious by an officer’s


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supervisor; (4) all head, neck, and throat strikes with an object or carotid neck holds; (5) force used

upon juveniles known or reasonably assumed to be under 15 and females known or reasonably

assumed to be pregnant; (6) all uses of force by a PPB officer resulting in a loss of consciousness; (7)

more than two applications of an ECW on an individual during a single interaction, regardless of the

mode or duration of the application, regardless of whether the applications are by the same or

different officers, and regardless of whether the ECW application is longer than 15 seconds, whether

continuous or consecutive; (8) any strike, blow, kick, ECW application, or similar use of force

against a handcuffed, otherwise restrained, under control, or in custody subject with or without

injury; and (9) any use of force referred by an officer’s supervisor to IA that IA deems serious.

        59.     “Shall” means a mandatory duty.

        60.     “Supervisor” means a sworn PPB employee at the rank of sergeant or above (or

anyone acting in those capacities) and non-sworn personnel with oversight responsibility for other

officers.

        61.     “Supported by evidence” means the standard of proof applied in CRC appeals

pursuant to Portland City Code Section 3.21.160. A finding regarding a complaint is “supported by

the evidence” when a reasonable person could make the finding regarding a complaint in light of the

evidence, whether or not the reviewing body agrees with the finding. The CRC decides whether the

recommended finding is supported by the evidence using a reasonable person standard, that is, the

CRC decides whether City decision makers could have reached the conclusion they reached based

on the evidence developed by the investigation.

        62.     “Training” means any adult-learning methods that incorporate role- playing scenarios

and interactive exercises that instruct officers about how to exercise their discretion at an

administrative level, as well as traditional lecture formats. Training also includes testing and/or

writings that indicate that the officer comprehends the material taught.


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        63.     “Use of Force” means any physical coercion used to effect, influence, or persuade an

individual to comply with an order from an officer, above unresisted handcuffing, including actively

pointing a firearm at a person.

        64.     “Use of force that could result in criminal charges” means that use of force that a

reasonable and trained supervisor could conclude would result in criminal charges due to the

apparent circumstances, such as: (a) the level of force used as compared to the offense committed or

resistance encountered; (b) material discrepancies between the force actually used and the use of

force as described by the officer; or (c) the nature of the injuries.

        65.     “Welfare Check” means a response by PPB to a call for service that is unrelated to

an allegation of criminal conduct, but is instead to determine whether a person requires assistance

for a medical or mental health crisis.

                                          III. USE OF FORCE

        PPB shall revise its existing use of force policy and force reporting requirements to ensure

that all force, particularly force involving persons with actual or perceived mental illness: (a) is used

only in accordance with the Constitution and laws of the United States; (b) is no greater than

necessary to accomplish a lawful objective; (c) is properly documented, reported, and accounted for;

and (d) is properly investigated, reviewed, evaluated, and, if necessary, remedied. PPB shall attempt

to avoid or minimize the use of force against individuals in perceived behavioral or mental health

crisis, or those with mental illness and direct such individuals to the appropriate services where

possible. In addition, PPB shall ensure that officers use non-force and verbal techniques to effect

compliance with police orders whenever feasible, especially in the course of conducting welfare

checks or effecting arrests for minor offenses or for persons whom officers have reason to believe

are experiencing a mental health crisis; de-escalate the use of force at the earliest possible moment;

only resort to those use of force weapons, including less-lethal weapons, as necessary; and refrain


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from the use of force against individuals who are already under control by officers, or who may

express verbal discontent with officers but do not otherwise pose a threat to officers or others, or

impede a valid law enforcement function. To achieve these outcomes, PPB shall implement the

requirements set out below.

  A.      Use of Force Policy

        66.    PPB shall maintain the following principles in its existing use of force policies:

               a.      PPB shall use only the force reasonably necessary under the totality of

                       circumstances to lawfully perform its duties and to resolve confrontations

                       effectively and safely; and

               b.      PPB expects officers to develop and display, over the course of their practice

                       of law enforcement, the skills and abilities that allow them to regularly

                       resolve confrontations without resorting to force or the least amount of

                       appropriate force.

        67.    PPB shall add to its use of force policy and procedures the following use of force

principles:

               a.      Officers shall use disengagement and de-escalation techniques, when

                       possible, and/or call in specialized units when practical, in order to reduce

                       the need for force and increase officer and civilian safety;

               b.      In determining whether to use force, officers will take into account all

                       information, when feasible, including behavior, reports, and known history as

                       conveyed to or learned by the officer by any means, indicating that a person

                       has, or is perceived to have, mental illness;

               c.      The use of force shall be de-escalated as resistance decreases and the amount

                       of force used, including the number of officers who use force, shall de-


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                       escalate to a level reasonably calculated to maintain control with the least

                       amount of appropriate force; and

               d.      Objectively unreasonable uses of force shall result in corrective action

                       and/or discipline, up to and including termination.

  1.      Electronic Control Weapons

       68.     PPB shall revise PPB Directive 1051.00 regarding Taser, Less- Lethal Weapon

System to include the following principles:

               a.      Prohibition against the use of ECWs for pain compliance against those

                       suffering from mental illness or emotional crisis except in exigent

                       circumstances, and then only to avoid the use of a higher level of force;

               b.      Unless it would present a danger to the officer or others, that officers shall

                       issue a verbal warning, or attempt to utilize hand signals where there is a

                       language barrier or the subject is hearing impaired, prior to deploying their

                       ECW;

               c.      Officers shall follow protocols developed by PPB in conjunction with

                       medical professionals on their responsibilities following ECW use;

               d.      Only one ECW at a time may be used on a subject, intentionally, except

                       where lethal force would be permitted;

               e.      After one standard ECW cycle (5 seconds), the officer shall reevaluate the

                       situation to determine if subsequent cycles are necessary, including waiting

                       for a reasonable amount of time to allow the subject to comply with the

                       warning. Officers shall describe and explain the reasonableness of each ECW

                       cycle in their use of force reports;




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               f.      Officers shall make every reasonable effort to attempt handcuffing during

                       and between each ECW cycle. Officers should avoid deployments of more

                       than three ECW cycles unless exigent circumstances warrant use;

               g.      ECWs shall not be used on handcuffed or otherwise restrained persons,

                       unless doing so is necessary to prevent them from causing serious physical

                       injury to themselves or others, or if lesser attempts of control have been

                       ineffective and/or to avoid greater application of use of force; and

               h.      Officers receive annual ECW in service training including proficiency and

                       policy changes, if any.

  2.      Use of Force Reporting Policy and Use of Force Report

        69.    PPB shall revise its policies related to use of force reporting, as necessary, to require

that:

               a.      All PPB officers that use force, including supervisory officers, draft timely

                       use of force reports that include sufficient information to facilitate a

                       thorough review of the incident in question by supervisory officers; and

               b.      All officers involved or witnesses to a use of force provide a full and candid

                       account to supervisors.

               c.      In case of an officer involved shooting resulting in death, use of lethal force,

                       or an in-custody death, PPB will fulfill its reporting and review requirements

                       as specified in directive 1010.10, as revised. This will take place of Directive

                       940.00 reports for purposes of paragraphs 70, and 72-77 of this Agreement.

  3.      Use of Force Supervisory Investigations and Reports

        70.    PPB shall continue enforcement of Directive 940.00, which requires supervisors who

receive notification of a force event to respond to the scene, conduct an administrative review and


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investigation of the use of force, document their findings in an After Action Report and forward

their report through the chain of command. PPB shall revise Directive 940.00 to further require that

supervisory officers:

                 a.      Complete After Action Reports within 72 hours of the force event;

                 b.      Immediately notify his or her shift supervisor and PSD regarding all officer’s

                         Serious Use of Force, any Use of Force against persons who have actual or

                         perceived mental illness, or any suspected misconduct. Where the supervisor

                         suspects possible criminal conduct, the supervisor shall notify the PPB

                         Detective Division. Where there is no misconduct, supervisors also shall

                         determine whether additional training or counseling is warranted. PPB shall

                         then provide such counseling or training consistent with this Agreement;

                 c.      Where necessary, ensure that the subject receives medical attention from an

                         appropriate medical provider; and

                 d.      Interview officers individually and not in groups.

        71.      PPB shall maintain adequate patrol supervision staffing, which at a minimum, means

that PPB and the City shall maintain its current sergeant staffing level, including the September 2012

addition of 15 sergeants.

        72.      PPB shall develop a supervisor investigation checklist to ensure that supervisors

carry out these force investigation responsibilities. PPB shall review and revise the adequacy of this

checklist regularly, at least annually.

        73.      PPB shall revise its policies concerning chain of command reviews of After Action

Reports, as necessary, to require that:

                 a.      EIS tracks all Directive 940.00 material findings and corrections;




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               b.      All supervisors in the chain of command are subject to and receive corrective

                       action or discipline for the accuracy and completeness of After Action

                       Reports completed by supervisors under their command;

               c.      All supervisors in the chain of command are accountable for inadequate

                       reports and analysis;

               d.      A supervisor receives the appropriate corrective action, including training,

                       demotion, and/or removal from a supervisory position when he or she

                       repeatedly conducts deficient investigations. Where a shift commander, or

                       precinct commander, repeatedly permits deficient investigations, the shift

                       commander, or precinct commander, receives the appropriate corrective

                       action, including training, demotion, and/or removal from a supervisory

                       position;

               e.      When, after investigation, a use of force is found to be out of policy, PPB

                       shall take appropriate corrective action consistent with the Accountability

                       provisions of this Agreement;

               f.      Where the use of force indicates policy, training, tactical, or equipment

                       concerns, the immediate supervisor shall notify the Inspector and the Chief,

                       who shall ensure that PPB timely conducts necessary training and that PPB

                       timely resolves policy, tactical, or equipment concerns; and

               g.      The Chief or designee, as well as PSD, has discretion to re- assign a use of

                       force investigation to the Detective Division or any PPB supervisor.

  B.      Compliance Audits Related to Use of Force

       74.     In consultation with the COCL, the Inspector, as part of PPB’s quarterly review of

force, will audit force reports and Directive 940.00 Investigation Reports to ensure that:


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            a.          With respect to use of force generally:

                 i.       reports describe the mental health information available to officers and the

                          role of that information in their decision making;

                 ii.      officers do not use force against people who engage in passive resistance

                          that does not impede a lawful objective;

                 iii.     when resistance decreases, officers de-escalate to a level reasonably

                          calculated to maintain control with the least amount of appropriate force;

                 iv.      officers call in specialty units in accordance with procedure;

                 v.       officers routinely procure medical care at the earliest available opportunity

                          when a subject is injured during a force event; and

                 vi.      officers consistently choose options reasonably calculated to establish or

                          maintain control with the least amount of appropriate force.

            b.          With respect to ECW usages:

                 i.       ECW deployment data and Directive 940.00 reports are consistent, as

                          determined by random and directed audits. Discrepancies within the audit

                          should be appropriately investigated and addressed;

                 ii.      officers evaluate the reasonableness and need for each ECW cycle and

                          justify each cycle; when this standard is not met, this agreement requires

                          supervisor correction;

                 iii.     officers are universally diligent in attempting to use hands-on control when

                          practical during ECW cycles rather than waiting for compliance; and

                 iv.      officers do not attempt to use ECW to achieve pain compliance against

                          subjects who are unable to respond rationally unless doing so is reasonably

                          calculated to prevent the use of a higher level of force.

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            c.          With respect to use of force reporting, the reports:

                 i.       are completed as soon as possible after the force incident occurs, but no

                          later than the timeframes required in policy;

                 ii.      include a detailed description of the unique characteristics of the event,

                          using common everyday language, sufficient to allow supervisors to

                          accurately evaluate the quality of the officer’s decision making and

                          performance;

                 iii.     include a decision point description of the force decision making;

                 iv.      include a detailed description of the force used, to include descriptive

                          information regarding the use of any weapon;

                 v.       include a description of any apparent injury to the suspect, any complaint

                          of injury, or the absence of injury (including information regarding any

                          medical aid or on-scene medical evaluation provided);

                 vi.      include the reason for the initial police presence;

                 vii.     include a description of the level of resistance encountered by each officer

                          that led to each separate use of force and, if applicable, injury;

                 viii. include a description of why de-escalation techniques were not used or

                          whether they were effective;

                 ix.      include whether the individual was known by the officer to be mentally ill

                          or in mental health crisis;

                 x.       include a general description of force an officer observes another officer

                          apply; and

                 xi.      demonstrate that officers consistently make diligent efforts to document

                          witness observations and explain when circumstances prevent them from

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                         identifying witnesses or obtaining contact information. Reports will include

                         all available identifying information for anyone who refuses to provide a

                         statement.

       75.     In consultation with the COCL, the Inspector shall audit force reports and Directive

940.00 investigations to determine whether supervisors consistently:

               a.      Complete a Supervisor’s After Action Report within 72 hours of notification;

               b.      Review all use of force reports to ensure they include the information

                       required by this Agreement and PPB policy;

               c.      Evaluate the weight of the evidence;

               d.      Use a “decision-point” approach to analyze each use of force;

               e.      Determine whether the officer’s actions appear consistent with PPB policy,

                       this Agreement, and best practices;

               f.      Determine whether there was legal justification for the original stop and/or

                       detention;

               g.      Assess the incident for tactical and training implications, including whether

                       the use of force may have been avoided through the use of de-escalation

                       techniques or lesser force options;

               h.      Determine whether additional training or counseling is warranted;

               i.      Implement corrective action whenever there are material omissions or

                       inaccuracies in the officers’ use of force report, and for failing to report a use

                       of force, whether applied or observed;

               j.      Document any non-disciplinary corrective action to remedy training

                       deficiencies, policy deficiencies, or poor tactical decisions in EIS;




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               k.      Notify PSD and the shift supervisor of every incident involving an officer’s

                       Serious Use of Force, and any Use of Force that could appear to a reasonable

                       supervisor to constitute misconduct; and

               l.      Notify the Detective Division and shift supervisor of every force incident in

                       which it could reasonably appear to a supervisor that an officer engaged in

                       criminal conduct.

       76.     In consultation with the COCL, the Inspector shall conduct a quarterly analysis of

force data and supervisors’ Directive 940.00 reports designed to:

               a.      Determine if significant trends exist;

               b.      Determine if there is variation in force practice away from PPB policy in any

                       unit;

               c.      Determine if any officer, PPB unit, or group of officers is using force

                       differently or at a different rate than others, determine the reason for any

                       difference and correct or duplicate elsewhere, as appropriate;

               d.      Identify and correct deficiencies revealed by the analysis; and

               e.      Document the Inspector’s findings in an annual public report.

       77.     In consultation with the COCL, the Inspector shall audit the adequacy of chain of

command reviews of After Action Reports using the following performance standards to ensure that

all supervisors in the chain of command:

               a.      Review Directive 940.00 findings using a preponderance of the evidence

                       standard;

               b.      Review Directive 940.00 reports to ensure completeness and order additional

                       investigation, when necessary;

               c.      Modify findings as appropriate and document modifications;


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                d.      Order additional investigation when it appears that there is additional

                        relevant evidence that may assist in resolving inconsistencies or improve the

                        reliability or credibility of the findings and counsel the investigator;

                e.      Document any training deficiencies, policy deficiencies, or poor tactical

                        decisions, ensure a supervisor discusses poor tactical decisions with the

                        officer and ensure the discussion is documented in EIS;

                f.      Suspend an investigation immediately and notify the branch Assistant Chief,

                        the Director of PSD, and the Detectives Division whenever the investigating

                        supervisor, shift commander or Division commander finds evidence of

                        apparent criminal conduct by a PPB officer; and

                g.      Reports a matter to PSD for review and investigation whenever an

                        investigating supervisor, shift commander or precinct commander finds

                        evidence of apparent misconduct by a PPB officer or employee.

                                           IV. TRAINING

        78.     All aspects of PPB training shall reflect and instill agency expectations that officers

are committed to the constitutional rights of the individuals who have or are perceived to have

mental illness whom they encounter, and employ strategies to build community partnerships to

effectively increase public trust and safety. To achieve these outcomes, PPB shall implement the

requirements below.

        79.     The Training Division shall review and update PPB’s training plan annually. To

inform these revisions, the Training Division shall conduct a needs assessment and modify this

assessment annually, taking into consideration: (a) trends in hazards officers are encountering in

performing their duties; (b) analysis of officer safety issues; (c) misconduct complaints; (d)

problematic uses of force; (e) input from members at all levels of PPB; (f) input from the


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community; (g) concerns reflected in court decisions; (h) research reflecting best practices; (i) the

latest in law enforcement trends; (j) individual precinct needs; and (k) any changes to Oregon or

federal law or PPB policy.

        80.     Within 180 days of the Effective Date, PPB shall develop and implement a process

that provides for the collection, analysis, and review of data regarding the effectiveness of training

for the purpose of improving future instruction, course quality, and curriculum. These evaluations

shall measure and document student satisfaction with the training received; student learning as a

result of training; and the extent to which program graduates are applying the knowledge and skills

acquired in training to their jobs. This audit shall be reported to the Training Division Manager and

shall include student evaluations of the program and the instructor.

        81.     PPB shall ensure that the Training Division is electronically tracking, maintaining,

and reporting complete and accurate records of current curricula, lesson plans, training delivered,

attendance records, and other training materials in a central, commonly-accessible, and organized file

system. Each officer’s immediate supervisor shall review the database for the officers under his/her

command at least semi-annually.

        82.     PPB shall report training delivered and received semi-annually to the Assistant Chief

of Operations and, during the pendency of this Agreement, to DOJ.

        83.     PPB shall institute guidelines to govern its selection of officers that serve as trainers

and shall ensure that those officers do not have a history of using excessive force. The trainer

selection guidelines shall prohibit the selection of officers who have been subject to disciplinary

action based upon the use of force or mistreatment of people with mental illness within the three (3)

preceding years, or twice in the preceding five (5) years, and will take into account if a civil judgment

has been rendered against the City in the last five (5) years based on the officer’s use of force.




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       84.     All training that PPB provides shall conform to PPB’s current policies at the time of

training. PPB shall train all officers on the Agreement’s requirements during the next in-service

training scheduled.

               a.            With respect to patrol officers, PPB shall:

                      i.       increase the use of role-playing scenarios and interactive exercises that

                               illustrate proper use of force decision making, specifically including

                               interactions with people who have or are perceived to have mental illness,

                               including training officers on the importance and impact of ethical decision

                               making and peer intervention;

                      ii.      emphasize the use of integrated de-escalation techniques, when

                               appropriate, that encourage officers to make arrests without using force;

                      iii.     continue to provide training regarding an officer’s duty to procure medical

                               care whenever a subject is injured during a force event, and enhance and

                               revise training as necessary to ensure that PPB’s training in this regard is

                               proactive and responsive to deficiencies identified by the Inspector, if any;

                      iv.      continue to train on proactive problem solving and to utilize, when

                               appropriate, disengagement, area containment, surveillance, waiting out a

                               subject, summoning reinforcements, requesting specialized units, including

                               CIT officers and mental health professionals, or delaying arrest;

                      v.       describe situations in which a force event could lead to potential civil or

                               criminal liability; and

                      vi.      continue to train officers to avoid using profanity, prohibit using

                               derogatory/demeaning labels, and also avoiding terms not currently

                               appropriate for person-center communication, such as the term “mentals,”

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                             in all work-related settings and communications, as well as when interacting

                             with the public.

               b.          With respect to supervisors, provide additional training on how to:

                    i.       conduct use of force investigations, including the supervisory investigatory

                             responsibilities identified in Section III.A.3;

                    ii.      evaluate officer performance as part of PPB’s annual performance

                             evaluation system; and

                    iii.     foster positive career development and impose appropriate disciplinary

                             sanctions and non-disciplinary corrective action.

       85.     In consultation with the COCL, the Inspector shall audit the training program using

the following performance standards to ensure that PPB does the following:

               a.          Conducts a comprehensive needs assessment annually;

               b.          Creates a Training Strategic Plan annually;

               c.          Within 180 days of the Effective Date, develops and implements a process

                           for evaluation of the effectiveness of training;

               d.          Maintains accurate records of Training delivered, including substance and

                           attendance;

               e.          Makes Training Records accessible to the Director of Services, Assistant

                           Chief of Operations, and DOJ;

               f.          Trains Officers, Supervisors, and Commanders on areas specific to their

                           responsibilities; and

               g.          Ensures that sworn PPB members are provided a copy of all PPB directives

                           and policies issued pursuant to this Agreement, and sign a statement

                           acknowledging that they have received, read, and had an opportunity to ask

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                        questions about the directives and/or policies, within 30 days of the release

                        of the policy.

        86.     In consultation with the COCL, the Inspector shall gather and present data and

analysis on a quarterly basis regarding patterns and trends in officers’ uses of force to the Chief, the

PPB Training Division, and to the Training Advisory Council. The Training Division and Training

Advisory Council shall make written recommendations to the Chief regarding proposed changes in

policy, training, and/or evaluations based on the data presented. The Inspector shall also, in

coordination with the COCL and PSD, identify problematic use of force patterns and training

deficiencies. The Chief’s Office shall assess all use of force patterns identified by the Training

Division and/or Training Advisory Council and timely implement necessary remedial training to

address deficiencies so identified.

        87.     Training Advisory Council meetings will be open to the public unless the matter

under discussion is confidential or raises public safety concerns, as determined by the Chief.

                 V. COMMUNITY-BASED MENTAL HEALTH SERVICES

        88.     The absence of a comprehensive community mental health infrastructure often shifts

to law enforcement agencies throughout Oregon the burden of being first responders to individuals

in mental health crisis. Under a separate agreement, the United States is working with State of

Oregon officials in a constructive, collaborative manner to address the gaps in state mental health

infrastructure. The state-wide implementation of an improved, effective community- based mental

health infrastructure should benefit law enforcement agencies across the State, as well as people with

mental illness. The United States acknowledges that this Agreement only legally binds the City to

take action. Nonetheless, in addition to the City, the United States expects the City’s partners to help

remedy the lack of community-based addiction and mental health services to Medicaid clients and

uninsured area residents. The City’s partners in the provision of community- based addiction and


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mental health services include: the State of Oregon Health Authority, area Community Care

Organizations (“CCOs”), Multnomah County, local hospitals, health insurance providers,

commercial health providers, and existing Non-Governmental Organizations (“NGOs”) such as

community-based mental health providers, and other stakeholders.

       89.     The United States expects that the local CCOs will establish, by mid- 2013, one or

more drop-off center(s) for first responders and public walk-in centers for individuals with

addictions and/or behavioral health service needs. All such drop off/walk in centers should focus

care plans on appropriate discharge and community- based treatment options, including assertive

community treatment teams, rather than unnecessary hospitalization.

       90.     The CCOs will immediately create addictions and mental health- focused

subcommittee(s), which will include representatives from PPB’s Addictions and Behavioral Health

Unit (“ABHU”), the ABHU Advisory Board, Portland Fire and Rescue, Bureau of Emergency

Communications (“BOEC”) and other City staff. These committees will pursue immediate and

long-term improvements to the behavioral health care system. Initial improvements include:

               a.      Increased sharing of information, subject to lawful disclosure, between

                       agencies and organizations including BOEC, Multnomah County, and health

                       care providers to create an information exchange among first responders and

                       providers to better serve those suffering from mental illness;

               b.      Creation of rapid-access clinics so those in crisis have access to timely

                       medication management appointments;

               c.      Enhancing access to primary care providers to shift low-to- moderate acuity

                       patients to primary care programs creating more capacity for acute patients in

                       existing outpatient crisis mental health systems;




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            d.          Expanding the options and available capacity for BOEC Operators to

                        appropriately divert calls to qualified civilian mental health providers as first

                        responders;

            e.          Addressing issues of unmet needs identified by Safer PDX and its

                        community partners;

            f.          Expanding and strengthening networks of Peer-Mediated services to:

                 i.       develop a referral guide delineating these services and locations and assist

                          with accessing information;

                 ii.      better educate the community of the viability of these services as alternative

                          first engagement sites/programs for those having difficulty engaging with

                          “professional driven” services;

                 iii.     expand peer services connected to peer supports in the community for

                          inpatient psychiatric units (including Emergency Departments) and in the

                          community;

                 iv.      add peer guides to work alongside Emergency Department guides for those

                          patients with behavioral health issues entering the Emergency Department;

                          and

                 v.       evaluate opportunities to expand use of peers to coordinate with PPB

                          ABHU (as described herein) and function as a link with impacted

                          individuals; and

            g.          pursue tele-psychiatry (a provision of mental health care by video

                        conferencing) as a way for first responders to take advantage of existing IT

                        infrastructure to provide direct care or provider- evaluation supporting the

                        provision of appropriate services to an individual in crisis.

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                                   VI. CRISIS INTERVENTION

        The City acknowledges that the community of consumers of mental health services, and

their families and advocates, have an interest in interactions between PPB and people experiencing

mental health symptoms or crises. The PPB will add new capacity and expertise to deal with persons

perceived or actually suffering from mental illness, or experiencing a mental health crisis as required

by this Agreement. Despite the critical gaps in the state and local mental health system, the City and

PPB must be equipped to interact with people in mental health crisis without resorting to

unnecessary or excessive force.

  A.      Addictions and Behavioral Health Unit and Advisory Committee

        91.     In order to facilitate PPB’s successful interactions with mental health consumers and

improve public safety, within 60 days of the Effective Date, PPB shall develop an Addictions and

Behavioral Health Unit (“ABHU”) within the PPB. PPB shall assign command-level personnel of at

least the rank of Lieutenant to manage the ABHU. ABHU shall oversee and coordinate PPB’s Crisis

Intervention Team (“C-I Team”), Mobile Crisis Prevention Team (“MCPT”), and Service

Coordination Team (“SCT”), as set forth in this Agreement.

        92.     ABHU will manage the sharing and utilization of data that is subject to lawful

disclosure between PPB and Multnomah County, or its successor. PPB will use such data to

decrease law enforcement interactions or mitigate the potential uses of force in law enforcement

interactions with consumers of mental health services.

        93.     ABHU shall track outcome data generated through the C-I Team, MCPT, and SCT,

to: (a) develop new response strategies for repeat calls for service; (b) identify training needs; identify

and propose solutions to systemic issues that impede PPB’s ability to provide an appropriate

response to a behavioral crisis event; and (c) identify officers’ performance warranting

commendation or correction.


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        94.     Within 90 days of the Effective Date, PPB shall also establish an ABHU Advisory

Committee. The ABHU Advisory Committee shall include representation from: PPB command

leadership, CIT, MCPT, and SCT; BOEC; civilian leadership of the City government; and shall seek

to include representation from: the Multnomah County’s Sheriff’s Office; Oregon State Department

of Health and Human Services; advocacy groups for consumers of mental health services; mental

health service providers; coordinated care organizations; and persons with lived experience with

mental health services.

        95.     The ABHU Advisory Committee shall provide guidance to assist the City and PPB

in the development and expansion of C-I Team, MCPT, SCT, BOEC Crisis Triage, and utilization

of community-based mental health services. The ABHU Advisory Committee shall analyze and

recommend appropriate changes to policies, procedures, and training methods regarding police

contact with persons who may be mentally ill or experiencing a mental health crisis, with the goal of

de-escalating the potential for violent encounters. The ABHU Advisory Committee shall report its

recommendations to the ABHU Lieutenant, PPB Compliance Coordinator, COCL (as described

herein), and the BOEC User Board.

        96.     Within 240 days of the Effective Date of this Agreement, the ABHU Advisory

Committee will provide status reports on the implementation of the ABHU and BOEC Crisis

Triage, and identify recommendations for improvement, if necessary. PPB will utilize the ABHU

Advisory Committee’s recommendations in determining appropriate changes to systems, policies,

and staffing.

  B.      Continuation of C-I Program

        97.     PPB provides C-I Training to all its officers. C-I is a core competency skill for all

sworn police officers in the City. PPB shall continue to train all officers on C-I.




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        98.     PPB agrees to continue to require a minimum of 40 hours of C-I training to all

officers before officers are permitted to assume any independent patrol or call- response duties.

Additionally, PPB shall include C-I refresher training for all officers as an integral part of PPB’s on-

going annual officer training. PPB’s Training Division, in consultation with ABHU Advisory

Committee, shall determine the subjects and scope of initial and refresher C-I training for all

officers.

  C.        Establishing “Memphis Model” Crisis Intervention Team

        99.     Within 120 days of the Effective Date, PPB shall establish a Memphis Model Crisis

Intervention team (“C-I Team”).

        100.    PPB’s C-I Team shall be comprised of officers who volunteer for assignment to the

C-I Team. The number of C-I Team members will be driven by the demand for C-I Team services,

with an initial goal of 60-80 volunteer, qualified officers.

        101.    No officers may participate in C-I Team if they have been subject to disciplinary

action based upon use of force or mistreatment of people with mental illness within the three years

preceding the start of C-I Team service, or during C-I Team service. PPB, with the advice of the

ABHU Advisory Committee, shall define criteria for qualification, selection, and ongoing

participation of officers in the C-I Team.

        102.    PPB shall specially train each C-I Team member before such member may be

utilized for C-I Team operations. PPB, with the advice of the ABHU Advisory Committee, shall

develop such training for C-I Team members consistent with the Memphis Model.

        103.    C-I Team members will retain their normal duties until dispatched for use as a C-I

Team. BOEC or PPB may dispatch C-I Team members to the scene of a crisis event.

        104.    PPB will highlight the work of the C-I Team to increase awareness of the

effectiveness of its work.


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        105.    For each crisis event to which a C-I Team is dispatched, the C-I Team member shall

gather data that ABHU shall utilize to track and report data on public safety system interactions with

individuals with perceived or actual mental illness or who are in crisis. These data shall include:

                a.      Date, time, and location of the incident;

                b.      Subject’s name, age, gender, and address;

                c.      Whether the subject was armed, and the type of weapon;

                d.      Whether the subject is a U.S. military veteran;

                e.      Complainant’s name and address;

                f.      Name and DPSST number of the officer on the scene;

                g.      Whether a supervisor responded to the scene;

                h.      Techniques or equipment used;

                i.      Any injuries to officers, subject, or others;

                j.      Disposition;

                k.      Whether a mental health professional responded to the scene;

                l.      Whether a mental health professional contacted the subject as a result of the

                        call; and

                m.      A brief narrative of the event (if not included in any other document).

  D.      Mobile Crisis Prevention Team

        106.    PPB currently has an MCPT comprised of a two-person team, one sworn officer and

one contractor who is a qualified mental health professional. Within 120 days of the Effective Date,

City shall expand MCPT to provide one MCPT car per PPB precinct.

        107.    Each MCPT car shall be staffed by one sworn PPB officer and one qualified mental

health professional. MCPT shall be the fulltime assignment of each such officer.




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        108.    No officers may participate in MCPT if they have been subject to disciplinary action

based upon use of force or mistreatment of people with mental illness within the three years

preceding the start of MCPT service, or during MCPT service. PPB, with the advice of the ABHU

Advisory Committee, shall define criteria for qualification, selection, and ongoing participation of

officers in the MCPT.

        109.    PPB shall specially train each MCPT member before such member may be utilized

for MCPT operations. PPB, with the advice of the ABHU Advisory Committee, shall develop such

training for MCPT members.

        110.    MCPT shall utilize C-I Team data to proactively address mental health service, in

part, by connecting service recipients with service providers.

        111.    Within 180 days of the Effective Date, PPB, with the advice of the ABHU Advisory

Committee, shall develop policies and procedures for the transfer of custody or voluntary referral of

individuals between PPB, receiving facilities, and local mental health and social service agencies.

These policies and procedures shall clearly describe the roles and responsibilities of these entities

and of MCPT officers in the process.

  E.      Service Coordination Team

        112.    The Service Coordination Team (“SCT”), or its successor, shall serve to facilitate the

provision of services to individuals who interact with PPB that also have a criminal record,

addictions, and highly acute mental or physical health service needs.

  F.      BOEC

        113.    Within 120 days of the Effective Date, BOEC and PPB, with the advice of the

ABHU Advisory Committee, shall complete policies and procedures to triage calls related to mental

health issues, including changes to protocols for assigning calls to Multnomah County Crisis Call




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Center, and adding new or revised policies and protocols to assign calls to the PPB ABHU or

directly to NGOs or community-based mental health professionals.

       114.    Within 180 days of the Effective Date, the City will complete training of all BOEC

Dispatchers in Crisis Triage. The City, with the advice of the ABHU Advisory Committee, shall

develop ongoing training for BOEC Dispatchers.

       115.    Within 180 days of the Effective Date, the City shall ensure Crisis Triage is fully

operational to include the implementation of the policies and procedures developed pursuant to the

above paragraph and operation by trained staff.

                       VII.      EMPLOYEE INFORMATION SYSTEM

       116.    PPB has an existing Employee Information System (“EIS”) to identify employees

and design assistance strategies to address specific issues affecting the employee. See PPB Manual

345.00. PPB agrees to enhance its EIS to more effectively identify at-risk employees, supervisors and

teams to address potentially problematic trends in a timely fashion. Accordingly, within 90 days of

the Effective Date, PPB shall:

               a.      Require that commanders and supervisors conduct prompt reviews of EIS

                       records of employees under their supervision and document the review has

                       occurred in the EIS performance tracker;

               b.      Require that commanders and supervisors promptly conduct reviews of EIS

                       for officers new to their command and document the review has occurred in

                       the EIS performance tracker; and

               c.      Require that EIS staff regularly conduct data analysis of units and supervisors

                       to identify and compare patterns of activity.

       117.    PPB agrees to use force audit data to conduct similar analyses at supervisor- and

team-levels.


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       118.    PPB shall continue to use existing thresholds, and specifically continue to include the

following thresholds to trigger case management reviews:

               a.      Any officer who has used force in 20% of his or her arrests in the past six

                       months; and

               b.      Any officer who has used force three times more than the average number of

                       uses of force compared with other officers on the same shift.

       119.    Within 90 days of the Effective Date, PPB shall add one additional threshold to

trigger case management review any officer who has three uses of force in a one-month period.

       120.    Within 90 days of the Effective Date, PPB shall PPB identify and train a second EIS

administrator. This individual may be assigned to other tasks within the Professional Standards

Division or as otherwise needed.

                             VIII. OFFICER ACCOUNTABILITY

       PPB and the City shall ensure that all complaints regarding officer conduct are fairly

addressed; that all investigative findings are supported by a preponderance of the evidence and

documented in writing; that officers and complainants receive a fair and expeditious resolution of

complaints; and that all officers who commit misconduct are held accountable pursuant to a

disciplinary system that is fair and consistent. The City and PPB seek to retain and strengthen the

citizen and civilian employee input mechanisms that already exist in the PPB’s misconduct

investigations by retaining and enhancing IPR and CRC as provided in this Agreement.

  A.      Investigation Timeframe

       121.    PPB and the City shall complete all administrative investigations of officer

misconduct within one-hundred eighty (180) days of receipt of a complaint of misconduct, or

discovery of misconduct by other means. For the purposes of this provision, completion of

administrative investigations includes all steps from intake of allegations through approval of


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recommended findings by the Chief, excluding appeals, if any, to CRC. Appeals to CRC should be

resolved within 90 days.

        122.    PPB shall conduct administrative investigations concurrently with criminal

investigations, if any, concerning the same incident. All administrative investigations shall be subject

to appropriate tolling periods as necessary to conduct a concurrent criminal investigation, or as

otherwise provided by law, or as necessary to meet the CRC or PRB recommendation to further

investigate.

        123.    If PPB is unable to meet these timeframe targets, it shall undertake and provide to

DOJ a written review of the IA process, to identify the source of the delays and implement an action

plan for reducing them.

  B.      On Scene Public Safety Statements and Interviews

        124.    Within 90 days of the Effective Date, the City and PPB shall review its protocols for

compelled statements to PSD and revise as appropriate so that it complies with applicable law and

current professional standards, pursuant to Garrity v. New Jersey, 385 U.S. 493 (1967). The City will

submit the revised protocol to DOJ for review and approval. Within 45 days of obtaining DOJ’s

approval, PPB shall ensure that all officers are advised on the revised protocol.

        125.    Separation of all witness and involved officers to lethal force events is necessary in

order to safeguard the integrity of the investigation of that event. Immediately following any lethal

force event, PPB shall continue to issue a communication restriction order (“CRO”) to all witness

and involved officers, prohibiting direct or indirect communications between those officers

regarding the facts of the event. The CRO will continue, unless extended further, until the

conclusion of the Grand Jury or, if no Grand Jury is convened, until a disposition is determined by

the District Attorney.




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        126.    PPB shall continue to require witness officers to lethal force events to give an on-

scene briefing to any supervisor and/or a member of the Detective Division to ensure that victims,

suspects, and witnesses are identified, evidence is located, and provide any information that may be

required for the safe resolution of the incident, or any other information as may be required.

        127.    In agreement and collaboration with the Multnomah County District Attorney, PPB

shall request that involved officers in lethal force and in-custody death events provide a voluntary,

on-scene walk-through and interview, unless the officer is incapacitated.

  C.      Conduct of IA Investigations

        128.    Currently, both IPR and PPB’s PSD have authority to conduct administrative

investigations, provided that IPR interview of PPB Officers must only be conducted jointly with IA.

Within 120 days of the Effective Date, the City will develop and implement a plan to reduce time

and effort consumed in the redundant interview of witnesses by both IPR and IA, and enable

meaningful independent investigation by IPR, when IPR determines such independent investigation

is necessary.

        129.    The City and PPB shall ensure that all allegations of use of excessive force are

subject to full and completed IA investigations resulting in findings, unless there is clear and

convincing evidence to IPR that the allegation has no basis in fact.

        130.    The City and PPB shall continue to expressly prohibit all forms of retaliation,

including discouragement, intimidation, coercion, or adverse action, against any person who reports

misconduct, makes a misconduct complaint, or cooperates with an investigation of misconduct.

        131.    The City and PPB shall retain Police Review Board procedures currently utilized for

purposes of investigation and making recommended findings on administrative complaints, except

as outlined below:




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            a.     Currently, seven voting members of the PRB review use of force incidents,

                   including two citizen members. When PRB reviews uses of force case, one of

                   the two citizen member slots shall be drawn from the Citizen Review

                   Committee members.

            b.     The CRC slot on the PRB in use of force cases will rotate among the CRC

                   membership so that different CRC members participate on the PRB. Within

                   60 days of the Effective Date, the Auditor shall develop a membership

                   rotation protocol.

            c.     All members participating in the PRB must maintain confidentiality and be

                   able to make thoughtful, unbiased, objective recommendations to the Chief

                   of Police and Police Commissioner that are based on facts, consistent with

                   PRB city code provisions and “just cause” requirements set forth in Portland

                   City Charter, City rules, and labor agreements.

            d.     Cases in which the member elects, with the concurrence of the Chief and the

                   Police Commissioner, to accept the investigative findings and recommended

                   discipline. This option will only be available to a member following

                   implementation of code language which shall require at a minimum a full

                   investigation of the alleged misconduct, issuance of the investigative findings,

                   and concurrence with the findings by the Independent Police Review, the

                   Professional Standards Division and the member’s Branch Chief. The scope

                   of cases eligible for stipulated discipline shall be identified in the authorizing

                   code, and cases involving alleged used of excessive force, cases involving

                   alleged discrimination, disparate treatment or retaliation, reviews of officer

                   involved shootings and in-custody deaths, and cases in which the Chief or


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                        the Police Commissioner does not agree to accept the member’s proposed

                        stipulation to findings and recommended discipline shall not be eligible for

                        stipulated findings and recommended discipline.

            e.          All community members and CRC members must meet the following

                        qualifications to participate on the PRB:

                 i.       Pass a background check performed by the Bureau.

                 ii.      Participate in Bureau training to become familiar with police training and

                          policies, including the PRB process.

                 iii.     Sign a confidentiality agreement.

                 iv.      Participate in ride-alongs to maintain sufficient knowledge of police patrol

                          procedures.

            f.          Current city code provides that the City Auditor and the Chief have authority

                        to recommend to City Council the removal of citizen members from the

                        PRB pool. Likewise, the City Auditor or Chief shall have authority to

                        recommend to City Council removal of a CRC member from serving on the

                        PRB. The Chief or the City Auditor may recommend that City Council

                        remove a community member or member of the CRC from the pool for the

                        following reasons:

                 i.       Failure to attend training;

                 ii.      Failure to read Case Files;

                 iii.     Objective demonstration of disrespectful or unprofessional conduct;

                 iv.      Repeated unavailability for service when requested;

                 v.       Breach of confidentiality;

                 vi.      Objective demonstration of bias for or against the police; or

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                      vii.     Objective demonstration of conflict of interest.

                 g.          Removal from participation in the PRB shall not affect CRC membership.

                 h.          Like current PRB citizen members, CRC members serving on the PRB may

                             serve in that capacity for no more than three (3) years.

                 i.          A CRC member who participates in a PRB review shall recuse

                             himself/herself during any later appeal of the same allegation(s) to the CRC.

          132.   By majority vote, the PRB may request that investigations of misconduct be returned

to its investigating entity, i.e. PSD or IPR, to complete the investigation as to factual matters

necessary to reach a finding regarding the alleged misconduct. The investigating entity must make

reasonable attempts to conduct the additional investigation or obtain the additional information

within 10 business days or provide a written statement to the PRB explaining why additional time is

needed.

          133.   If an officer’s use of force gives rise to a finding of liability in a civil trial, PPB shall:

(1) enter that civil liability finding in the EIS; (2) reevaluate the officer’s fitness to participate in all

current and prospective specialized units ; (3) if no IA investigation has previously been conducted

based upon the same allegation of misconduct and reached an administrative finding, conduct a full

IA investigation with the civil trial finding creating a rebuttable presumption that the force used also

violated PPB policy, which presumption can only be overcome by specific, credible evidence by a

preponderance of evidence; (4) if an IA investigation has already concluded based upon the same

allegation of misconduct and failed to reach a sustained finding, identify whether any new evidence

exists in the record of the civil trial to justify the reopening of the IA investigation, and if so,

reinitiate an IA investigation; and (5) if an IA investigation has already concluded based upon the

same allegation of misconduct and failed to reach a sustained finding, and no new evidence from the

civil trial justifies reopening the IA investigation, work with IPR to identify the reason why the

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administrative finding was contrary to the civil trial finding and publish a summary of the results of

the inquiry.

  D.      CRC Appeals

        134.    The City shall expand the membership of the CRC to 11 members, representative of

the many and diverse communities in Portland, who are neutral, unbiased, and capable of making

objective decisions. The quorum of CRC members necessary to act may remain at its existing level.

        135.    The City and PPB agree that the CRC may find the outcome of an administrative

investigation is unreasonable if the CRC finds the findings are not supported by the evidence.

        136.    In its review process for purposes of the appeal, the CRC may make one request for

additional investigation or information to the investigating entity, i.e. PSD or IPR at any point

during its review. The investigating entity must make reasonable attempts to conduct the additional

investigation or obtain the additional information within 10 business days or provide a written

statement to the CRC explaining why additional time is needed. The request for additional

investigation or information may contain multiple points of inquiry, but no follow-up requests will

be permitted. The additional request be voted on by a quorum, the members voting must have read

the Case File in order to vote, and any request with multiple points of inquiry must be prioritized.

  E.      Discipline

        137.    Within 60 days of the Effective Date, PPB and the City shall develop and implement

a discipline guide to ensure that discipline for sustained allegations of misconduct is based on the

nature of the allegation and defined, consistent, mitigating and aggravating factors and to provide

discipline that is reasonably predictable and consistent.

  F.      Communication with Complainant and Transparency

        138.    Within 180 days of the Effective Date, the City shall enhance its existing website to

ensure that a complainant can file and track his or her own complaint of officer misconduct.


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        139.     Within 120 days of the Effective Date, the City shall review its protocols to ensure

that the City shares with complainants requested documentation about his or her own complaint to

the extent permitted by law.

        140.     The City shall ensure that IPR provides each complainant a tracking number upon

receipt of the complaint, informs each complainant of the complaint classification, assignment

(precinct or IA) and outcome of the complaint (sustained, unproven, etc.) in writing (whether mail,

email/text, or fax), including information regarding whether the City took any corrective action. The

City Attorney’s Office shall determine whether disclosures regarding corrective action are required

on a case- by-case basis consistent with Oregon’s Public Records Law.

IX. COMMUNITY ENGAGEMENT AND CREATION OF PORTLAND COMMITTEE
                ON COMMUNITY ENGAGED-POLICING

        There is significant community and City interest in improving PPB’s community

relationships. The community is a critical resource. Soliciting community input regarding PPB’s

performance, while also enhancing PPB’s current community outreach efforts, will promote

community confidence in PPB and facilitate police/community relationships necessary to promote

public safety.

        141.     To leverage the ideas, talent, experience, and expertise of the community, the City, in

consultation with DOJ, shall establish a Portland Committee on Community Engaged-Policing

(“PCCEP”), within 90 days of the Effective Date of the relevant amendments to this Agreement.

        142.     The PCCEP shall be authorized to: (a) solicit information from the community and

the PPB about PPB’s performance, particularly with regard to constitutional policing; (b) make

recommendations to the Chief, Police Commissioner, the Director of the Office of Equity and

Human Rights, and community and, during the effective period of this Agreement, to the DOJ; (c)

advise the Chief and the Police Commissioner on strategies to improve community relations; (d)

contribute to the development and implementation of a PPB Community Engagement Plan; and (e)
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receive public comments and concerns. The composition, selection/replacement process and

specific duties of the PCCEP shall be set forth in a separate Plan for Portland Committee on

Community-Engaged Policing (“the PCCEP Plan”) which shall be substantially similar to Exhibit 1

to this Agreement. Amicus AMAC and Intervenor PPA shall be consulted regarding and DOJ shall

review and approve any amendments to the PCCEP Plan proposed to occur during the effective

period of this Agreement.

       143.    PCCEP’s membership will come from a reasonably broad spectrum of the

community. PCCEP members shall not have an actual or perceived conflict of interest with the City

of Portland.

       144.    The City shall provide administrative support so that the PCCEP can perform the

duties and responsibilities identified in this Agreement and in the PCCEP Plan.

       145.    To ensure constitutional policing, to closely interact with the community to resolve

neighborhood problems, and to increase community confidence, PPB shall work with City resources

knowledgeable about public outreach processes and the PCCEP to improve its engagement with the

community.

       146.    Within 120 days of the effective date of the relevant Amendments to this

Agreement, the City, in consultation with the PCCEP, will conduct another reliable, comprehensive

and representative survey of members of the Portland community regarding their experiences with

and perceptions of PPB’s community outreach efforts and accountability efforts and where those

efforts could be improved, to inform the work of the PCCEP and the development and

implementation of the Community Engagement Plan.

       147.    PPB shall continue to collect appropriate demographic data for each precinct so that

the Precinct Commander, considering any input from the PCCEP, may develop outreach and




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policing programs specifically tailored to the residents of the precincts. The data shall also be

provided to PCCEP to inform its work.

        148.    PPB shall continue to require that officers document appropriate demographic data

regarding the subjects of police encounters, including the race, age, sex and perceived mental health

status of the subject, and shall provide such information to the PCCEP and make such information

publicly available to contribute to the analysis of community concerns regarding discriminatory

policing. PPB shall consider enhancements to its data collection efforts, and report on its efforts to

enhance data collection to the DOJ by no later than December 31, 2013, and quarterly thereafter.

        149.    The COCL, PPB, and DOJ will jointly develop metrics to evaluate community

engagement and outreach. PCCEP may review these metrics and may suggest additional metrics to

DOJ and PPB.

        150.    Annually, PPB shall issue a publicly available PPB Annual Report, which shall

include a summary of its problem-solving and community policing activities. A draft of the Annual

Report shall be provided to the PCCEP for review and comment before the report is finalized and

released to the public. Once released, PPB shall hold at least one meeting in each precinct area and

at a City Council meeting, annually, to present its Annual Report and to educate the community

about its efforts in community policing in regard to the use of force, and about PPB’s policies and

laws governing pedestrian stops, stops and detentions, and biased-free policing, including a civilian’s

responsibilities and freedoms in such encounters.

        151.    PCCEP shall meet as needed to accomplish their objectives as set forth in the

PCCEP Plan. PCCEP shall hold regular Town Hall meetings which shall be open to the public. To

the extent that PCCEP meetings are subject to the Oregon Public Meetings Law, or similar

regulatory or statutory requirements, the City shall be responsible to give advice necessary to the




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PCCEP to ensure compliance with those laws and agrees to represent PCCEP in any challenges

regarding compliance with those laws.

        152.     The City shall provide PCCEP members with appropriate training necessary to

comply with requirements of City and State law.

                X. AGREEMENT IMPLEMENTATION AND ENFORCEMENT

        153.     PPB shall implement immediately all provisions of this Agreement which involve the

continuation of current policies, procedures, and practices specific to force, training, community-

based mental health services, crisis intervention, employee information system, officer

accountability, and community engagement. Except where otherwise specifically indicated, PPB shall

implement all other provisions of this Agreement no later than within 180 days of the Effective

Date.

        154.     With regard to any provision that provides for DOJ’s review and approval, including

review of all policies that must be revised, approval will be granted in a timely fashion provided that

the PPB’s action reasonably satisfies the requirements and standards set forth in the relevant

provision(s).

        155.     All PPB audits and reports related to the implementation of this Agreement shall be

made publicly available via website and at PPB, IPR, City Hall, and other public locations. Audits

and reports shall be posted on PPB’s website.

        156.     PPB shall collect and maintain all data and records necessary to facilitate and ensure

transparency and wide public access to information related to PPB decision making and activities,

and compliance with this Agreement, in accordance with the Oregon Public Records Law.

  A.      Compliance Officer/Community Liaison

        157.     Within 60 days from the Effective Date, the City shall publicly identify three

potential candidates with expertise in police practices, community engagement, and crisis


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intervention methods, to serve as a Compliance Officer and Community Liaison (“COCL”).

Following a 30-day public comment period, the City Council shall select a COCL, who shall be

responsible for synthesizing data related to PPB’s use of force, reporting to the City Council, DOJ,

and the public and gathering input from the public related to PPB’s compliance with this

Agreement. The COCL shall not be attached to any one City office, shall be wholly independent of

PPB, and shall be responsive to the entire City Council, the public, and DOJ. The City shall provide

administrative support so that the COCL can perform the duties and responsibilities identified in

this Agreement.

        158.    In order to collect data and report on PPB’s implementation of each substantive

provision of this Agreement, the COCL shall conduct the reviews specified in paragraph 173 of this

Agreement and such additional reviews regarding the implementation of this Agreement as the

COCL, the City, or DOJ deems appropriate. Based on the COCL’s reviews and community input,

the COCL shall make recommendations to the City regarding measures necessary to ensure full and

timely implementation of this Agreement.

        159.    The COCL shall prepare quarterly, written, public reports detailing PPB’s

compliance with, and implementation of, this Agreement. The reports shall specify: (a) the

methodology and monitoring activities employed; (b) the COCL’s assessment of compliance for

each paragraph; and (c) the COCL’s recommendations regarding necessary steps to achieve

compliance, as warranted. The COCL shall substantiate his or her compliance assessments and

recommendations. The COCL’s reports shall be written with due regard for the privacy interests of

individual officers and the subjects involved in the use of force interactions, and the interest of PPB

in protecting against disclosure of non-public information.

        160.    The COCL shall provide a copy of all reports to the Parties in draft form and allow

the Parties 30 days to informally comment on the reports. The COCL shall also hold open town hall


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meetings on a quarterly basis where he/she will present his/her draft compliance report to the

public, and receive public comment on his/her assessments of compliance and recommendations.

The public shall have the opportunity to raise comments or concerns at the open town hall meeting

or via online and/or electronic mail submissions. The COCL and the City, in consultation with the

PCCEP, shall ensure that the time and location of these quarterly town hall meetings are well

publicized with sufficient advance notice and that significant efforts are made to procure attendance

of a community body broadly representative of the many and diverse communities in Portland,

including persons with mental illness, mental health providers, faith communities, minority, ethnic,

and other community organizations, and student or youth organizations. These quarterly meetings

shall facilitate the sharing of information on the Agreement and its implementation with the broad

community body and permit the COCL to receive comments and concerns.

        161.    The COCL shall consider the Parties’ responses to its draft report and make

appropriate changes, if any, before issuing a final version of the report. The COCL shall issue the

final report to the Parties and make all final reports publicly available through posting on the City’s

website. The Parties’ responses to the COCL’s draft report shall also be published on the City’s

website. The Parties may submit any COCL reports to the Court if questions arise concerning

compliance with this Agreement. The Parties agree that COCL reports may be used to evidence

compliance or non-compliance with this Agreement, subject to the weight afforded to such reports

by the Court.

  B.      PPB Compliance Coordinator

        162.    PPB will hire or retain an employee familiar with the operations of PPB for the

duration of this Agreement, to serve as a PPB Compliance Coordinator. The Compliance

Coordinator will serve as a liaison between PPB and both the COCL and DOJ and will assist with

PPB’s compliance with this Agreement. At a minimum, the Compliance Coordinator will:


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                a.      Coordinate PPB’s compliance and implementation activities;

                b.      Facilitate the provision of data, documents, materials, and access to PPB

                        personnel to the COCL and DOJ, as needed;

                c.      Ensure that all documents and records are maintained as provided in this

                        Agreement;

                d.      Assist in assigning compliance tasks to PPB personnel, as directed by the

                        Chief of Police or the Chief’s designee; and

                e.      Take primary responsibility for collecting the information the COCL requires

                        to carry out his/her assigned duties.

  C.      Access to People and Documents

        163.    The COCL shall have full and direct access to all PPB and City staff, employees,

facilities, and documents that the COCL reasonably deems necessary to carry out his/her duties. If a

document requested by the COCL is a privileged attorney- client communication, the COCL shall

not disclose the document in a manner that destroys that privilege without the approval of the City

Attorney. The COCL shall cooperate with PPB and the City to access people, facilities, and

documents in a reasonable manner that minimizes, to the extent possible, interference with daily

operations. In order to report on PPB’s implementation of this Agreement, the COCL shall regularly

conduct reviews to ensure that PPB implements and continues to implement all measures required

by this Agreement. The COCL may conduct on-site reviews without prior notice to PPB or the City.

        164.    For the purpose of monitoring this Agreement, DOJ and its consultative experts and

agents shall have full and direct access to all PPB and City staff, employees, facilities, and

documents, that DOJ reasonably deems necessary to carry out the enforcement and monitoring

provisions of this Agreement to the extent permitted by law. DOJ and its consultative experts and

agents shall cooperate with PPB and the City to access involved personnel, facilities, and documents


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in a reasonable manner that minimizes interference with daily operations; however, DOJ may

conduct on-site reviews without prior notice to PPB or the City. DOJ shall provide PPB or the City

with reasonable notice of a request for copies of documents. Upon such request, PPB or the City

shall provide DOJ with copies (electronic, where readily available) of any documents that DOJ is

entitled to access under this Agreement, except any documents protected by the attorney-client

privilege. Should PPB decline to provide DOJ with access to a document based on attorney-client

privilege, PPB promptly shall provide DOJ with a log describing the document, including its author,

recipients, date of production, and general topic.

        165.    All non-public information provided to the COCL or DOJ by PPB or the City shall

be maintained in a confidential manner. Nothing in this Agreement requires the City to disclose

documents protected from disclosure by the Oregon Public Records Law to third parties.

  D.      Review of Policies and Investigations

        166.    Within 180 days of the Effective Date, PPB shall revise and/or develop its policies,

procedures, protocols, training curricula, and practices to ensure that they are consistent with,

incorporate, address, and implement all provisions of this Agreement specific to force, training,

community-based mental health services, crisis intervention, employee information system, officer

accountability, and community engagement. PPB shall revise and/or develop as necessary other

written documents such as handbooks, manuals, and forms, to effectuate the provisions of this

Agreement. PPB shall send new or revised policies, procedures, protocols, and training curricula

regarding use of force, interactions with persons in mental health crisis and systems of accountability

to DOJ as they are promulgated, with a copy to the COCL. DOJ and the COCL will provide

comments within 45 days and will not unreasonably withhold recommendations about policies,

procedures, protocols, and training curricula. The COCL shall seek the timely input of the relevant

members of the Training Division and patrol officers, as well members of the community. If the


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City disagrees with DOJ’s comments, the City shall, within 14 days of being informed of the DOJ’s

comments, inform the Parties in writing of the disagreement. Within 14 days thereafter, the Parties

shall meet and confer on the disagreement at a mutually agreeable time. Upon approval by the

Parties, policies, procedures, training curricula, and manuals shall be implemented within 30 days of

agreement or the Court’s decision. PPB shall provide initial and in-service training to all officers and

supervisors with respect to newly implemented or revised policies and procedures. PPB shall

document employee review of and training in new or revised policies and procedures.

        167.    The Chief shall post on PPB’s website final drafts of all new or revised policies that

are proposed specific to force, training, community-based mental health services, crisis intervention,

employee information system, officer accountability, and community engagement, to allow the

public an opportunity for notice and comment, prior to finalizing such policies.

        168.    The Chief’s Office shall coordinate a review of each policy or procedure required by

this Agreement 180 days after such policy or procedure is implemented, and annually thereafter (on

a regularly published schedule), to ensure that such policy or procedure provides effective direction

to PPB personnel and remains consistent with the purpose and requirements of this Agreement.

        169.    PPB shall apply policies uniformly and hold officers accountable for complying with

PPB policy and procedure.

        170.    In addition to compliance reviews, the COCL shall lead semi-annual qualitative and

quantitative outcome assessments to measure whether the City and PPB’s implementation of this

Agreement has created: (1) capable systems and resources for responding to persons in mental

health crisis; (2) competent accountability and oversight systems; (3) effective training for police

officers that increases the knowledge, skills and abilities necessary for effective and successful

delivery of service to persons in mental health crisis; (4) proper management of the use of force to




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meet constitutional standards; and (5) robust systems of community engagement. These outcome

assessments shall be informed by the following:

               a.          Use of Force Data:

                    i.      the number of police interactions where force was used on individuals with

                            actual or perceived mental illness, including the type of force used; the

                            reason for the interaction, i.e., suspected criminal conduct or a well- being

                            check; the threat to public safety, including whether the person was armed

                            and if so, with what; a description of the type of resistance offered, if any;

                            and a description of any attempts at strategic disengagement;

                    ii.     the rate of force used per arrest by PPB; force implement used; geographic

                            area (i.e., street address, neighborhood, or police precinct or district); type

                            of arrest; and demographic category;

                    iii.    the rate of force complaints that are sustained, overall and by force type;

                            source of complaint (internal or external); type of arrest; type of force

                            complained of; demographic category;

                    iv.     uses of force that were found to violate policy overall and by force type;

                            type of arrest; demographic category; force implement used; and number

                            of officers involved;

                    v.      the number and rate of use of force administrative investigations/reviews

                            in which each finding is supported by a preponderance of the evidence;

                    vi.     the number of officers who frequently or repeatedly use force, or have

                            more than one instance of force found to violate policy;

                    vii.    the rate at which ECW usage decreases or increases compared to the use of

                            force overall and by weapon; and

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                 viii. the rate at which officer and subject injuries decrease or increase overall

                          and by severity of injury.

            b.          Mental health interaction data on:

                 i.       MCPT dispositions;

                 ii.      the flow of people in mental health crisis through PPB, the County jail,

                          emergency receiving facilities, and community agencies;

                 iii.     officer and agency staff satisfaction with the transfer process;

                 iv.      the rate of repeat calls for service involving individuals in mental health

                          crisis;

                 v.       the use of the mental health commitment law; and

                 vi.      the availability of appropriate treatment options;

            c.          Training data, including:

                 i.       officer evaluation of adequacy of training; and

                 ii.      the Training Division’s assessment of incidents involving officer or civilian

                          injury.

            d.          Performance data, including:

                 i.       uses of force found to be unreasonable, complaints sustained and not

                          sustained, and other performance related indicators for

                          supervisors/commanders promoted pursuant to the requirements of this

                          Agreement, and for the units these supervisors/commanders command;

                          and

                 ii.      initial identification of officer violations and performance problems by

                          supervisors, and effectiveness of supervisory response.

            e.          Accountability data, including:

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                    i.     the number of complaints (broken out by type of complaint), with a

                           qualitative assessment of whether any increase or decrease appears related

                           to access to the complaint process;

                    ii.    rate of sustained, not sustained, exonerated complaints;

                    iii.   the number and rate of complaints in which the finding for each allegation

                           is supported by a preponderance of the evidence;

                    iv.    the number of officers who are subjects of repeated complaints, or have

                           repeated instances of sustained complaints; and

                    v.     the number, nature, and settlement amount of civil suits against PPB

                           officers regardless of whether the City is a defendant in the litigation.

        171.    In conducting these outcome assessments, the COCL may use any relevant data

collected and maintained by PPB, provided that it has determined, and the Parties agree, that this

data is reasonably reliable and complete. Additionally, the COCL shall solicit input from community

groups or initiatives that have relevant experience conducting statistical analyses. The COCL will

contribute to and review the Annual Community Survey.

        172.    Two years after the Effective Date, DOJ shall conduct a comprehensive assessment

to determine whether and to what extent the outcomes intended by the Agreement have been

achieved. DOJ will further examine whether any modifications to the Agreement are necessary in

light of changed circumstances or unanticipated impact (or lack of impact) of the Agreement’s

requirements. This assessment also shall address areas of greatest achievement and the requirements

that appear to have contributed to this success, as well as areas of greatest concern, including

strategies for accelerating full and effective compliance. Based upon this comprehensive assessment,

DOJ may recommend modifications to the Agreement that are necessary to achieve and sustain

intended outcomes. Where the City agrees with DOJ’s recommendations, the Parties shall stipulate

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to modify the Agreement accordingly. Nothing in this assessment shall empower DOJ to unilaterally

modify the terms of this Agreement.

  E.      City Reports and Records

        173.    Beginning with the COCL’s first quarterly report, as set forth in paragraph 166 of

this Agreement, PPB shall prepare a status report no later than 45 days before the COCL’s quarterly

report is due. The PPB Compliance Coordinator shall lead the effort in preparing this status report

and shall provide copies to the COCL, DOJ, and the public. PPB’s report shall delineate the steps

taken by PPB during the reporting period to comply with each provision of this Agreement.

        174.    PPB shall maintain all records, as applicable, necessary to document their compliance

with the terms of this Agreement and all documents expressly required by this Agreement.

  F.      Enforcement

        175.    The Parties agree jointly to file this Agreement with the United States District Court

for the District of Oregon, in a matter to be captioned United States v. City of Portland, Civil Action

No. --CV--. The joint motion shall request that the Court enter the Agreement pursuant to Federal

Rule of Civil Procedure 41(a)(2), and conditionally dismiss the complaint in this action with

prejudice, while retaining jurisdiction to enforce the Agreement. If the Court does not retain

jurisdiction to enforce the Agreement, the Agreement shall be void.

                a.      The Parties anticipate that the City will have substantially complied with all

                        provisions of the Agreement by October 12, 2017. Substantial compliance is

                        achieved if any violations of the Agreement are minor or occasional and are

                        not systemic.

                b.      The Court shall retain jurisdiction of this action for all purposes until the City

                        has substantially complied with all provisions of this Agreement and maintain

                        substantial compliance with all provisions for one year.


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                c.      The Parties may agree to jointly ask the Court to terminate the Agreement

                        before the end of the five year term, provided the City has substantially

                        complied with all provisions of the Agreement and maintained substantial

                        compliance with all provisions for one year. If the case has not yet been

                        dismissed, the Parties agree to ask the Court for a non-evidentiary hearing on

                        the status of compliance on or near October 12, 2017. If the Parties agree

                        that there is non-compliance, or if there is a dispute about compliance, the

                        Parties will so inform the Court, and the Court may set additional hearing

                        dates as appropriate. The Parties may agree jointly at any time to allow for

                        additional time to resolve compliance issues.

        176.    The United States acknowledges the good faith of PPB and the City in trying to

address the remedial measures that are needed to promote police integrity and ensure constitutional

policing in the City. The United States, however, reserves its right to seek enforcement of the

provisions of this Agreement if it determines that PPB or the City have failed to fully comply with

any provision of this Agreement.

        177.    The United States understands that many portions of this Agreement will take time

to implement and that implementation may require changes to, among other things, collective

bargaining agreements, the city code, and current city policies and will likely require additional

revenue resources that have not yet been identified at the time this Agreement is executed.

        178.    If the United States reasonably believes the City has failed to implement the terms of

the Agreement, it shall promptly notify the City in writing and identify with specificity the portion or

portions of the Agreement about which it has concerns. Similarly, if the City believes that DOJ has

misinterpreted a provision of this Agreement it may promptly notify DOJ of its concerns, noting the

specific portions of the Agreement that it believes has been misinterpreted.


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        179.     Notices provided by the United States or by the City shall be in writing and provided

by mail to the following persons:

          Chief of Police                          City Attorney
          1111 SW Second                           1221 SW 4th Avenue, Suite #430
          Portland, Oregon 97204                   Portland, Oregon 97204

          Section Chief                            U.S. Attorney
          Special Litigation Section               District of Oregon
          950 Pennsylvania Ave., N.W.              1000 S.W. Third Ave., Suite 600 Washington, D.C.
          20530                                    Portland, OR 97204

        180.     Following receipt by mail of any written Notice, the City or DOJ shall respond in

writing within 30 days to the concerns raised by the other Party. Depending on the nature and

number of the concerns the City or DOJ may request additional time to respond, and such a request

shall not be unreasonably denied. The Notice and the Party’s Response thereto shall be considered

to be in the nature of settlement discussions between the Parties and subject to Federal Rule of

Procedure 408.

        181.     If the Response fails to resolve the other Party’s concerns, the Parties agree to meet

as soon thereafter as is mutually convenient to discuss the City’s compliance with the portion(s) of

the Agreement identified in the Notice or the interpretation of the Agreement by DOJ. Persons

attending the meeting shall have authority to resolve the concerns, unless resolution of the concern

requires adoption of an ordinance or resolution by City Council or by the Assistant Attorney

General in Charge of the DOJ Civil Rights Division.

        182.     If a meeting between the Parties fails to resolve the concerns, the Parties agree to

participate in mediation conducted by a neutral third party mutually agreeable to the Parties. If the

Parties cannot agree upon the selection of a mediator, the Parties shall submit three names of

potential mediators to each other. Each Party may then strike two of the three names provided by

the other Party. The remaining two names shall be given to the Chief Judge of the U.S. District


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Court for the District of Oregon and the Chief Judge shall appoint the mediator from one of the

names provided.

        183.    If mediation fails to resolve the concerns, the United States or the City may file a

Motion in the Federal District Court for the District of Oregon, located in Portland, Oregon, to

enforce compliance with the terms of this Agreement or to seek a Declaration of the meaning of

this agreement. The Motion or request for Declaration shall only allege concerns raised by the

Parties which were the subject of mediation. The Parties shall then meet with the court to schedule a

date on which the Motion or Declaration shall be heard or will otherwise comply with the court’s

preferred procedure. The Parties agree the Judge hearing the Motion shall determine whether or not

the Agreement has been breached and may interpret the meaning of the Agreement and has the

power to issue an appropriate remedy, if any. If, for any reason, the Judge finds the City is not in

compliance with the Agreement, but that noncompliance was beyond the reasonable control of the

City, the City shall not be in breach of this Agreement. However, in the event of noncompliance

beyond the reasonable control of the City, the Parties agree that the Court may exercise its equitable

powers to devise an appropriate remedy or modification of this Agreement to accomplish the same

result as that intended by the portion of the Agreement with which noncompliance was found,

provided the Parties cannot reach agreement on the remedy or modification.

        184.    Nothing prohibits the Parties from engaging in any informal or formal discussions

regarding this Agreement or the City’s compliance with this Agreement. The Parties may jointly

stipulate to make changes, modifications, and amendments to this Agreement, which shall be

effective, absent further action from the Court, 45 days after a joint motion has been filed with the

Court. Any modification of this Agreement by the City of Portland must be approved by the City

Council of the City by written ordinance.




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        185.    The Parties agree to defend the provisions of this Agreement. The Parties shall

notify each other of any court or administrative challenge to this Agreement. In the event any

provision of this Agreement is challenged in any City, county, or state court, removal to a federal

court shall be sought by the Parties.

        186.    The PPB and the City agree to promptly notify DOJ if any term of this Agreement

becomes subject to collective bargaining. The City agrees to keep DOJ apprised of the status of the

resulting negotiations.

        187.    All PPB officers and persons related to the implementation of this Agreement shall

sign a statement indicating that they have read and understand this Agreement within 90 days of the

effective date of this Agreement. Such statement shall be retained by PPB. PPB shall require

compliance with this Agreement by their respective officers, employees, agencies, assigns, or

successors.

                          XI. ADDENDUM OF ADDITIONAL REMEDIES

        On April 2, 2021, the United States issued a notice of noncompliance pursuant to Paragraph

178. The purpose of this Addendum is to ensure that the City, by and through its officials, agents,

employees, and bureaus, takes actions to resolve the concerns expressed by the United States in the

noncompliance notice. Specifically, the United States found that the City failed to implement the

following provisions of this Agreement: Section III – Use of Force, Paragraphs 66, 67, 69, 70, and

73; Section IV – Training, Paragraphs 78 and 84; Section VIII – Officer Accountability, Paragraphs

121, 123, and 169; and Section IX – Community Engagement and Creation of Portland Committee

on Community Engaged Policing, Paragraph 150. The City does not admit that the allegations of

noncompliance are true.

        188.    The City shall revise Force Data Collection Report (FDCR) and After Action Report

forms to capture when the forms are edited and completed as part of PPB’s implementation of


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Office365, which is ongoing. In the interim, pursuant to a process approved by the United States,

PPB shall capture in the existing FDCR and After Action Report forms the author’s name and the

time and date of initial submission and any subsequent edits, as well as the name, time, and date of

each level of review.

        189.    Before November 25, 2021, the City shall provide funding for a qualified outside

entity to critically assess the City’s response to crowd control events in 2020 in a public-facing report

and prepare a follow-on review of the City’s response to the report. The City will use the report to

prepare a training needs assessment. The report, training needs assessment, and follow-on review

will be completed consistent with a Scope of Work and deadlines agreed upon by the City and the

United States, and such agreement shall not be unreasonably withheld by either Party. If the City

demonstrates to the United States that significant progress is being made toward meeting the

obligations under the agreed upon Scope of Work and deadlines, the City may request a reasonable

modification of the Scope of Work or extension of deadlines, which the United States shall not

unreasonably decline.

        190.    Before November 25, 2021, the City shall provide in the budget a separate line item

for overtime costs to conduct necessary training for PPB officers. The City shall include a similar

line item in subsequent budgets for the duration of this Agreement.

        191.    Before November 25, 2021, the City shall budget for a qualified civilian in PPB to

direct all educational aspects of PPB’s Training Division alongside the Captain of the Training

Division, who will direct administrative aspects of PPB’s Training Division. The respective roles

and responsibilities of the civilian and the Captain are outlined in Attachment 1 appended to this

Agreement, provided that the Parties may agree to modify those roles and will not unreasonably

withhold such agreement. Once funding is provided, the City shall post the position within 90 days.

Once the position is posted, the City shall make a job offer to a suitable candidate and complete any


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required background screenings within 150 days. If the City demonstrates to the United States that

no suitable candidate applied for or accepted the position, or that the City is otherwise making

significant progress toward meeting the deadlines in this Paragraph, the City may request a

reasonable extension of time to fill the position, which the United States shall not unreasonably

withhold.

       192.    Within 60 days of the date this paragraph is entered as an order of the Court, the

City shall initiate an appropriate investigation through IPR to identify: (a) the PPB Lieutenant(s) and

above who trained Rapid Response Team members to believe that they could use force against

individuals during crowd control events without meeting the requirements of PPB Directive

1010.00; (b) the PPB incident commander(s) and designee(s) with the rank of Lieutenant or above

who directed or authorized any officer to use force in violation of PPB Directive 1010.00, or who

failed to ensure that FDCRs and After Action Reports arising from the crowd control events

starting on May 29, 2020, and ending on November 16, 2020, were completed as required by Section

13.1 of PPB Directive 635.10; and (c) the PPB Commanders and above who failed to timely and

adequately clarify misunderstandings and misapplications of PPB policy (including this Agreement)

governing the use, reporting, and review of force during the crowd control events starting on May

29, 2020, and ending on November 16, 2020. Once the IPR investigation is complete, the Police

Commissioner and/or the Chief of Police, as required by this Agreement, shall hold accountable

those investigated members of the rank of Lieutenant and above who are determined to have

violated PPB policies (including this Agreement) as outlined in this paragraph. The Parties affirm

the obligation in this Agreement and Directive 330 for IPR and PPB to investigate any sworn

member if, during the investigations of Lieutenants and above required by this paragraph,

information is discovered suggesting that any sworn member may have violated PPB policy or this

Agreement.


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       193.    In addition to the requirements of paragraph 150 of this Agreement, PPB shall

release its Annual Report and hold the required precinct meetings no later than September 20 of

each year for the duration of this Agreement.

       194.    Within 210 days of the date this paragraph is entered as an order of the Court, the

City shall implement body-worn cameras (BWCs) pursuant to a policy that is subject to the policy-

review-and-approval provisions of this Agreement; provided, however, if the City is making

substantial progress this deadline may be extended by agreement of the United States, which shall

not be unreasonably withheld.

               a.      The City will comply with any collective bargaining obligations it may have

                       related to BWCs, which the City agrees to fulfill expeditiously and in

                       compliance with its obligation to bargain in good faith.

               b.      Within 60 days of the date this paragraph is entered as an order of the Court,

                       the Compliance Officer shall gather public input on the use of BWCs and

                       provide this information and any technical assistance to the public and the

                       Parties to inform the drafting of a policy. The United States reserves its

                       policy review rights related to the BWC program under the terms of this

                       Agreement.

               c.      If the City has not finally discharged its collective bargaining obligations as to

                       BWCs within 120 days of the date this paragraph is entered as an order of

                       the Court, the Parties stipulate that the Court may thereafter hold periodic

                       status conferences every 60 days to receive an update on the procedural

                       status of the collective bargaining process related to BWCs. The City will

                       provide a final procedural status update upon the completion of the

                       collective bargaining process.

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               d.      The United States reserves its enforcement rights related to the BWC

                       program under the terms of this Agreement. If collective bargaining or any

                       related arbitration or appeal results in a BWC program that the United States

                       determines, in its sole and absolute discretion, will not adequately resolve the

                       compliance concerns identified in the April 2, 2021 notice of noncompliance,

                       the Parties agree that the United States can seek court enforcement pursuant

                       to paragraph 183, without having to repeat the steps laid out in paragraphs

                       178 to 182.

       195.    In 2020, the City referred to voters a ballot measure that would overhaul the police

accountability system incorporated into this Agreement by establishing a new Community Police

Oversight Board to replace IPR for investigations of certain complaints of police misconduct and to

replace the Chief of Police for imposition of discipline. City voters approved the ballot measure.

The City has since empowered a 20-member civilian Commission to define the duties and authority

of the Oversight Board and submit a proposal to City Council for final approval.

               a.      Before January 1, 2022, the City Council and Auditor shall each present a

                       plan to the United States for an orderly transition to the Community Police

                       Oversight Board by ensuring the continuity of IPR operations while the

                       Commission develops the Oversight Board for City Council’s approval. The

                       United States shall determine whether either of these two plans is acceptable.

                       City Council will then adopt a plan that the United States has determined is

                       acceptable. The Parties agree that the adopted plan shall be appended to this

                       Agreement and will become part of this Order, provided that the Parties may

                       agree to modify the plan if warranted by the circumstances. Until the

                       Oversight Board becomes operational, the City shall ensure that

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                   administrative investigations are completed as required by Section VIII –

                   Officer Accountability and that officers are held accountable for violating

                   PPB policy and procedure as required by Paragraph 169.

            b.     Within 18 months of the date this paragraph is entered as an order of the

                   Court, the Commission shall propose to City Council changes to City Code

                   to create a new police oversight system as reflected in the City of Portland

                   Charter amendment establishing a Community Police Oversight Board.

                   Within 60 days of receiving the Commission’s proposal, the City will propose

                   amendments to City Code to address the Commission’s proposal, and

                   corresponding amendments to this Agreement, subject to the United States’

                   and the Court’s approval, to ensure full implementation of the Oversight

                   Board and effective police accountability, consistent with the requirements of

                   this Agreement. Within 21 days of the approval of the amendments to the

                   Agreement by the United States and the Court, the City Council shall

                   consider and vote on the conforming City Code provisions creating the

                   Oversight Board. Within 12 months of the Council’s adoption of the City

                   Code provisions, the new Oversight Board shall be staffed and operational,

                   and IPR shall then cease taking on new work and complete any pending

                   work. For good cause shown, the deadlines imposed by this subparagraph

                   (b) may be reasonably extended provided that the City is in substantial

                   compliance with subparagraph (a).

            c.     The City will comply with any collective bargaining obligations it may have

                   related to the Oversight Board, which the City agrees to fulfill expeditiously

                   and in compliance with its obligation to bargain in good faith.

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       DATED: February 20, 2023.

                                           Respectfully submitted,

  FOR THE UNITED STATES:
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           EXHIBIT 1: PARAGRAPH 142 – AMENDED PCCEP PLAN (ECF 215-1)

                                    City of Portland Plan for
                   Portland Committee on Community-Engaged Policing (PCCEP)

I.       MISSION
To work with the Mayor/Police Commissioner, Portland Police Bureau, and Portland’s diverse
constituencies to solicit and exchange information between the community and Portland Police
Bureau (PPB) to achieve the desired outcomes of equitable policing which exceeds
constitutional requirements, and meaningful community engagement with and trust in PPB.


II.      GOALS
PCCEP members will independently assess the Settlement Agreement using the tools outlined
in this Plan. PCCEP will work to facilitate positive police/community relationships and promote
public safety by assessing PPB’s current community engagement processes, and developing
recommendations and strategies for systems to increase public outreach and engagement with
a broad cross-section of the community, to build confidence and improve outcomes.

Additionally, PCCEP members will review and make recommendations on PPB policies touching
the DOJ Settlement Agreement and/or key areas of concern, including constitutional policing,
use of force, interactions with people experiencing mental illnesses, complaint investigations,
and racial justice.

In order for PPB to effectively build trust with Portland’s diverse communities, the
communities’ concerns must be heard and meaningful action by PPB must be taken. To
facilitate this outcome, PCCEP members will also make recommendations in the key areas of
concern for Portland’s diverse communities based on the communities’ articulated experiences
and grievances.

PCCEP’s mission and goals will guide the following:

          1.   Scope of work
          2.   Membership
          3.   City’s responsibilities
          4.   Available tools and resources
          5.   Members’ responsibilities
          6.   Deliverable products




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SCOPE OF WORK
PCCEP will engage with Portland’s diverse communities in key areas of concern, including
constitutional policing, use of force, interactions with people experiencing mental illnesses,
complaint investigations, and racial justice. PCCEP will contribute to the development of the
PPB Community Engagement Plan, as directed by the Settlement Agreement between the City
of Portland and the United States.
Specifically, PCCEP will be authorized to:
    •    Develop recommendations for PPB systems to engage meaningfully, both short-term
         and long-term, Portland’s diverse communities and improve community relations.
         Gather and synthesize information from Portland’s diverse communities, and make
         recommendations based on that information in key areas of concern to communicate to
         the Mayor, PPB, the Office of Equity and Human Rights, the DOJ, and the public at large.
    •    Review and make recommendations on PPB directives touching the DOJ Settlement
         Agreement and/or key areas of concern. Provide information to the community on
         these directives, and solicit feedback and recommendations from the community to
         share with the PPB.
    •    With the Mayor’s written approval, and after consultation with the other City
         Commissioners, PCCEP is authorized to identify for off-schedule review directives not
         related to the DOJ Settlement Agreement or key areas of concern. 1 PCCEP must provide
         a written explanation for the request, which will be considered by the Mayor and City
         Commissioners.
    •    Provide information to and solicit feedback from Portland’s diverse communities
         through focused and targeted round tables and town halls, to be held at least quarterly
         and be open to the public. PPB presence is required at quarterly town halls.
    •    Continue to collaborate with the City on surveys regarding Portland residents’
         experiences with and perception of PPB’s community outreach and accountability
         efforts. PCCEP will consider survey results in developing recommended strategies.
    •    Provide ongoing feedback to PPB regarding community engagement initiatives already in
         progress and those added/needed in the future.
    •    During the effective period of the Settlement Agreement, appear before the Court at the
         annual status conference to describe to the Court its assessment of the City’s progress
         toward achieving the goals of the Settlement Agreement.




1
  PPB directives are generally scheduled for Bureau review every two years. The City recognizes that the
community has an interest in a number of directives, and particularly those that are relevant to current events
(e.g., Directive 635.10. Crowd Management, with respect to demonstrations; Directive 810.10, Arrest of Foreign
Nationals with respect to Portland’s status as a Sanctuary City). This authority is intended to allow PCCEP to be
responsive to community concerns when there is a compelling interest to review and revise a Bureau practice.

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III.     MEMBERSHIP and REPORTING
PCCEP will be comprised of a diverse group of thirteen mayoral-appointed volunteers, who are
committed to improving systems-based police/community relationships and ensuring and
exceeding constitutional policing standards. Two of the thirteen seats will be reserved for youth
members, ages 16-23. The PCCEP will report directly to the Mayor (Police Commissioner) and
consult, separately and at least quarterly with the Director of the Office of Equity and Human
Rights.

IV.      SELECTION

Inaugural Selection Process
The Mayor, in consultation with the other Council offices, shall work with the community
selection panel described below to develop selection criteria and public outreach strategies for
the PCCEP selection process. This process may begin before the Fairness Hearing and approval
of the revised Settlement Agreement by the Court. Following the development of the selection
criteria, a written, downloadable application will be posted and available on the City’s website.
Posted alongside the application will be the deadline for submission, selection criteria, selection
process and a description of PCCEP member responsibilities. The City will engage the
community in a variety of ways to communicate the application and selection process, criteria
and timelines. Extra effort will be made to invite people who have experienced mental
illnesses to apply.
The inaugural selection process for PCCEP’s first year will adhere to the following framework:
(1) Application submission; (2) Initial screening of applicants by mayoral staff and a
representative from any Council office who wishes to participate; (3) Review and further
screening by the Selection Advisory Committee (a panel consisting of five diverse community
members, each chosen by the Mayor and other Commissioners); (4) Candidate interviews with
Mayor after soliciting feedback about final candidates from each Council office; (5) Mayoral
appointment and (6) Council confirmation.
Youth Member Selection Process
In accordance with best practices for youth-adult partnerships, the process to select youth
members ages 16-23 will be as follows: 1) Outreach to and opportunity for recommendations by
David Douglas School District, Parkrose School District, and Portland Public Schools (up to three
students per district); 2) Outreach through Portland’s 2-year and 4-year colleges and
universities in collaboration with student led groups and clubs; 3) Application submission; 4)
Group interviews by an interview committee comprised of the PCCEP chair/co-chairs, PCCEP
staff, Mayor’s staff and the invited participation of a representative each from the Albina
Ministerial Alliance Coalition for Justice and Police Reform (AMAC) and the Mental Health
Alliance (MHA); 5) Recommendations for youth members/alternates by the interview
committee to the Mayor; 6) Mayoral appointment; and 7) Council confirmation.

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Any youth who apply through the regular process will be incorporated into the youth selection
process. Any youth under the age of 18 must obtain permission from a legal guardian (or
provide documentation that they are legally emancipated) to apply and serve on the PCCEP.
Ongoing Selection Process
After the PCCEP’s inaugural year, a written, downloadable application will continue to be
posted and available on the City’s website. Posted alongside the application will be the
deadline for submission, selection criteria, selection process and a description of PCCEP
member responsibilities. Extra effort will continue to be made to invite people who have
experienced mental illnesses to apply.

The process to select members (other than youth members) will be as follows: 1) Application
submission; 2) Initial screening of applicants by PCCEP staff, a member of the Mayor’s staff,
staff from any Council office who wishes to participate and a community representative; 3)
Interviews (in-person or by phone) by an interview committee comprised of the PCCEP
chair/co-chairs, PCCEP staff, Mayor’s staff, Council staff if they elect to participate and the
invited participation of a representative each from the AMAC and the MHA; 4) Solicitation of
community feedback on candidates recommended by interview committee; 5) Mayoral
interviews of recommended candidates;         6) Mayoral appointment; and 7) Council
confirmation.

The PCCEP will accept applications on an ongoing basis and will maintain an alternate pool of
qualified candidates. There will be no minimum or maximum number of alternate PCCEP
members.

The Mayor will consider the selection criteria and views of the community in appointing
volunteers. City employees may not be appointed to sit on the PCCEP.

V.       TERM

Volunteers will serve two-year terms, with the option to re-apply at the end of a term. During
the first year of PCCEP’s life, volunteers will be appointed on a staggered basis where the
majority of the board will serve two-year terms, and the remainder will serve one-year terms.
Applicants will be able to indicate on their application forms whether they wish to serve one or
two-year terms. Any volunteers who serve one-year terms will have the option of re-applying
for the opportunity to serve a full term. In accordance with City policy for advisory boards and
commissions, volunteers can serve no more than eight years on the PCCEP.

VI.      REMOVAL
The Mayor, after consultation with the Council, the PCCEP Program Manager and PCCEP chair
(absent a conflict of interest) will have sole discretion to determine when PCCEP members are
no longer fit to serve on the committee due to misconduct. If a member is removed or resigns,


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the selection process identified above will be used to recruit, appoint and confirm the new
member.


VII.     CITY’S RESPONSIBILITIES 2
To establish the PCCEP and facilitate its work, the City will seek the services of a facilitator to
structure board orientation for PCCEP members. This orientation shall include training on the
United States v. City of Portland Settlement Agreement. Specifically, as part of this training, the
Albina Ministerial Alliance Coalition for Justice and Police Reform (AMAC) and mental health
advocates will be invited to provide information on the history of the Settlement Agreement.
After PCCEP’s board orientation, the City shall continue to provide resources for member
training as needed so that members continue to fulfill their obligations.

The City shall make appropriate information available regarding PPB’s current community
engagement initiatives, directives, and directive review and implementation process.

The PPB, in particular, and in accordance with its directive review schedule, shall meet with
PCCEP during a universal review period to brief members on directives related to the DOJ
Settlement Agreement and/or key areas of concern, provide information as needed/requested,
and solicit PCCEP member feedback. The PPB shall make the adjustments necessary to its
current directive review system in order to integrate PCCEP into the PPB’s work.

The City shall provide thorough and timely responses to PCCEP recommendations and requests
for information, and shall endeavor to do so within 60 days.

The City shall provide staffing for the PCCEP including a program manager and administrative
support. The City will also provide staff support and funding for community
organizing/outreach.




2
  With the amendments to Section IX of the Settlement Agreement and the development of the PCCEP,
the City understands there is concern about the role of the Portland community in monitoring the
Settlement Agreement, and updating the wider community on the status of terms of the Settlement
Agreement. The City will provide updates to the community on the status of the City’s compliance with
its obligations under the Settlement Agreement in the following ways: 1) at the annual status
conference before the federal district court; 2) through quarterly community meetings with the COCL
either separate from or jointly with the PCCEP, and staffed by the City; 3) through reports on the COCL
website; and 4) through other means as appropriate. The United States Department of Justice and the
COCL will continue to have responsibility for monitoring the City’s compliance with its obligations under
the Settlement Agreement during the effective period of the Agreement. After the City is found to be
in compliance with the Settlement Agreement and the Court, DOJ and COCL are no longer involved,
PCCEP will provide recommendations to the Mayor/Police Commissioner regarding continued
assessments of the City’s progress, generally, and community engagement.

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The City shall provide meeting locations, and work with PCCEP to identify neutral locations that
are accessible to and appropriate for the community for public meetings.

To ensure constitutional policing, to closely interact with the community to resolve
neighborhood problems, and to increase community confidence, PPB shall work with City
resources knowledgeable about public outreach processes, the PCCEP and the PPB’s Equity &
Diversity Manager to develop a Community Engagement Plan, which shall be adopted by
Council following a public hearing.

The Mayor’s Office shall publish on the City website an annual report, commencing from the
date PCCEP begins meeting through the duration of its existence, that will include updates on
progress made by the City in key areas of concern and community engagement
recommendations.

The Mayor or the Mayor’s delegate, and the PPB Chief or the Chief’s delegate, shall endeavor to
attend all public meetings of PCCEP, unless PCCEP requests otherwise. Other Commissioners or
their delegates are encouraged to attend, unless PCCEP requests otherwise. The purpose of
such attendance is to listen to understand, provide information either at the meeting or as
follow-up, and learn from PCCEP members and public testimony.

VIII.    MEMBERS’ RESPONSIBILITIES
PCCEP members must engage all participants in a respectful and collegial manner, and be
responsible for the following:

•   Prior to voting as a PCCEP member:
            o Learn about the history of the United States v. City of Portland Settlement
                Agreement, with an opportunity for AMAC and MHA to participate.
            o Participate in a ride-along with PPB (1 per PCCEP member). If necessary, the City
                is willing to provide a reasonable accommodation that would instead permit a
                PCCEP member to participate in a ride-along with a member of the Behavioral
                Health Unit or a Neighborhood Response Team (in lieu of regular patrol); or
                participate in a morning walking beat.
            o Review lessons learned from the COAB.
            o Participate in subject matter and board trainings.
            o Learn about:
                       PPB organizational structure;
                       Policy development and implementation process;
                       PPB Racial Equity Plan;
                       PPB Training Division Plan;
                       PPB’s Office of Community Engagement and current community
                          engagement initiatives, generally; and
                     PPB advisory bodies.

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•   As soon as practicable, attend PPB community academy, if possible as an alternate prior to
    appointment to PCCEP as a member. If necessary, the City is willing to provide a reasonable
    accommodation that would instead permit a PCCEP member to observe a session of the
    community academy and be given a guided tour of the PPB Training Division (with the
    opportunity to ask detailed questions about the Training Division).
•   Gather input from Portlanders regarding experiences with and perceptions of PPB’s
    community outreach. Input will be gathered through culturally responsive and relevant
    strategies that center the needs of the community. These strategies will include meeting
    community members where they are physically, mentally, emotionally and spiritually. Such
    input will be solicited from (though not limited to) the following groups:
        o General consultation with Office of Neighborhood Involvement (ONI) and/or District
            Coalitions, Coalition of Communities of Color, and ONI’s Diverse Civic Leadership
            partners
        o AMAC, The Portland Commission on Disabilities, the Human Rights Commission, and
            the New Portlander Policy Commission
•   Evaluate national best practices regarding police and community engagement leading to
    bias-free policing and community trust.
•   Analyze prior community surveys and consult with the City to conduct additional
    community surveys.
•   Receive public comment from Portlanders at large.
•   Review PPB directives and make recommendations to PPB based on public feedback in key
    areas of concern.
•   Provide ongoing feedback to PPB’s Office of Community Engagement on its community
    engagement practices and initiatives, and provide feedback on PPB’s Community
    Engagement Plan.
•   Hold monthly meetings. Meeting agendas shall be structured in a manner that provides a
    meaningful opportunity for public comment at the meeting prior to the conclusion of
    deliberations and voting. PCCEP meetings will generally be open to the public. However, if
    PCCEP reasonably determines that good cause exists on a particular occasion (for example,
    to deliberate on sensitive matters, such as matters involving personal medical information,
    or due to safety concerns), the PCCEP may meet without the public present. Facilitators will
    ensure that no votes are taken without the public having the opportunity to be present.
•   Form subcommittees that may meet at other times during the month. Subcommittee
    meetings must be open to the public and provide an opportunity for the public to weigh in
    on the substantive matters being considered.
•   PCCEP shall coordinate with the COCL to host open town hall meetings at which the COCL
    provides quarterly reports and the COCL and PCCEP receives public comment on


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        compliance assessments and recommendations to facilitate Portlanders’ ability to review
        compliance and make recommendations. 3
•       Agendas and minutes from all PCCEP meetings will be published on the City website within
        10 business days after the meeting date.




IX.         DELIVERABLE PRODUCT

PCCEP shall be responsible for producing the following:

        •   Summary reports issued (to the Mayor, PPB, DOJ, and the public at large)
            contemporaneously with quarterly town halls, providing an overview of community
            concerns around and any recommendations regarding use of force, interactions with
            people experiencing mental illness, complaint investigations, and racial justice.
            Strategies and recommendations developed to ensure greater public outreach and
            engagement, including opportunities for outreach to a broad cross-section of
            community members, to inform PPB’s Community Engagement Plan, utilizing the
            following procedure:


               1. PCCEP shall consult with community members and hold at least two (2) public
                  hearings, to be completed within 180 days of PCCEP members being seated
                  (PCCEP’s town halls may be utilized for this purpose). To gather public input on
                  PPB’s outreach efforts and progress towards eliminating unconstitutional
                  disparate treatment, the hearings shall be held in locations to ensure that PPB
                  receives input from all parts of the Portland community. PCCEP shall review PPB’s
                  prior community outreach efforts to contribute strategies to the development of
                  a new Community Engagement Plan.

               2. PCCEP shall meet at least quarterly with the Director of the City’s Office of Equity
                  and Human Rights and PPB’s Manager of Equity & Diversity, including a review of
                  PPB’s current Racial Equity Plan, and evaluate PPB’s ongoing efforts to
                  implement that plan.


               3. PCCEP shall suggest for inclusion in the Community Engagement Plan strategies
                  to ensure greater public outreach and engagement, including opportunities for


    3
     Should COCL decline to combine its quarterly town halls with PCCEP’s town halls, the COCL may hold
    separate town halls for community feedback, with staff support from the City.

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               outreach to a broad cross-section of community members. The parties recognize
               that meaningful public engagement involves the ability of community members
               to affect policies, practices, and PPB culture, thereby improving outcomes and
               eliminating unconstitutional actions.



            4. PCCEP may also provide information to the PPB on other areas related to
               meaningful community engagement and outreach to contribute to the
               development of the Community Engagement Plan. The Plan will specify how to
               integrate community values and problem-oriented policing principles into PPB’s
               management, policies and procedures.

            5. PCCEP will spend the first year gathering information from the public and
               compiling recommendations for PPB’s Community Engagement Plan.
               Recommendations shall be submitted to PPB within one year of PCCEP members
               being seated.

            6. The Chief’s Office shall consult with the PCCEP and shall consider and utilize to
               the extent practicable PCCEP’s recommendations in developing and
               implementing the Community Engagement Plan. The Chief’s Office shall present
               the final proposed Community Engagement Plan (with implementation timeline)
               to the PCCEP for its final review and comment within 45 days of receiving PCCEP’s
               recommendations. The recommended Community Engagement Plan shall be
               considered by the City Council in a public hearing, leading to the Council’s
               adoption of the Plan after review and amendments if indicated.


 The PCCEP shall meet at least twice per year with the Chief, the Police Commissioner, PPB
 Precinct Commanders, PPB Neighborhood Response Teams, and a representative of the Office
 of Neighborhood Involvement Crime Prevention to assess and solicit comment on PPB’s
 activities in regards to community outreach, engagement, and problem-solving policing. The
 PCCEP shall also provide the opportunity for public comment at any town hall and roundtable
 meetings to keep open lines of communication with the public at- large. The PCCEP may also
 invite testimony from other City bodies, including but not limited to PCoD, BHUAC, TAC, HRC,
 CRC and the citizen members of the PRB.




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              ATTACHMENT 1: PARAGRAPH 191 – ROLES AND RESPONSBILITIES

    YELLOW = Academic Director
    BLUE = Captain
    GREEN = Both

    Academic Director                             Shared                                 Captain
•   Lesson plan final approval         •   Instructor Selection                •   FTEP and recruit officer
•   Forecasting/scheduling of the      •   DPSST coordination                      assignments
    yearly training calendar           •   FTEP and recruit officers           •   EAP
•   Needs assessment and               •   Budget                              •   Armory and equipment
    surveys (analyst supervision)      •   Wellness programs                       management
•   Instructor                         •   Patrol Procedures Patrol            •   Facility use management
    development/training                   Vehicle, Operations, Control            (internal and external users)
•   FTEP and recruit officers              Tactics, Firearms program           •   Patrol Procedures Patrol
    training                           •   Sworn and non-sworn                     Vehicle, Operations, Control
•   Ensure training adheres to             performance evaluations                 Tactics, Firearms program
    policy                             •   Community academy                       assignments
•   Procedural Justice program         •   Leadership program                  •   Community academy
•   Patrol Procedures Patrol                                                       assignments
                                       •   Officer involved shooting
    Vehicle, Operations, Control           reviews                             •   Cadet program coordination
    Tactics, Firearms program          •   Satellite instructor schools        •   Satellite instructor school
    training                                                                       assignments
                                       •   Training Advisory Council
•   Community academy training             (TAC)
•   Advanced academy                   •   PRB advisory member
•   Supervisor in-service
•   Inservice
•   Outside training approval
•   Approval of PPB training
    provided outside the Training
    Division
•   Learning Management System
•   Video Production unit
•   PS3 training
•   Able Program
•   CIT/ECIT training
•   Satellite instructor schools
    training
•   Return to work training for
    members who have been on
    extended leave




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